Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 1 of 129




                  EXHIBIT B-147
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 2 of 129
                                                                              FILED IN OFFICE


                     IN THE SUPERIOR COURT OF FULTON COUNT
                                 STATE OF GEORGIA

                                                     )
IN RE 2 MAY 2022 SPECIAL PURPOSE                     )        No. 2022-EX-000024
GRANDJURY                                            )


                       MEDIA INTERVENORS' NOTICE OF FILING

       The Atlanta Journal-Constitution; The Associated Press; Bloomberg L.P.; Cable News

Network, Inc.; CMG Media Corporation and its television station WSB-TV; Dow Jones &

Company, publisher of The Wall Street Journal; The E.W. Scripps Company on behalf of

Scripps News and its local media station group; Gray Media Group, Inc. and its television station

WANF; The New York Times Company; and Tegna Inc. and its television station WXIA-TV

(collectively, "Media Intervenors"), respectfully submit this Notice of Filing.

       Attached hereto as Exhibit A is a true and correct copy of the transcript of the hearing

held by this Court on January 24, 2023.

       Attached hereto as Exhibit B is a true and correct copy of the October 22, 2010 Report

and Special Presentments of the Special Purpose Grand Jury in the Superior Court of Gwinnett

County, as published by the legal organ for Gwinnett County, The Gwinnett Daily Post (the

"Gwinnett SPGJ Report"). The October 22, 2010 Report was presented to the Court and State

during the Court's January 24, 2023 hearing in this matter.

       Dated this the 13th day of April, 2023
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 3 of 129




                               Respectfully submitted,

                         FOR: KILPATRICK TOWNSEND & STOCKTON LLP




                                 omas M. Clyde
                                  Georgia State Bar No.: 1709 5
                                  tclyde@kilpatricktownsend.com
                               Lesli N. Gaither
                                   Georgia State Bar No.: 621501
                                   lgaither@kilpatricktownsend.com
                               Suite 2800, 1100 Peachtree Street, N.E.
                               Atlanta, Georgia 30309
                               Phone: (404) 815-6500

                               Attorneys for Media Intervenors




                                  2
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 4 of 129




                                CERTIFICATEOF SERVICE

       This is to certify that the undersigned has this day served a true and correct copy of the

above via Electronic and United States Mail upon:



     Fani T. Willis
     Will Wooten
     District Attorney's Office
     136 Pryor Street SW, 3rd Floor
     Atlanta, Georgia 30303
     Fani.willisda@fultoncountyga.gov
     Will. wooten@fultoncountyga.gov


               DATED this the 13th day of April, 2023



                                            1,l;a,re~
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 5 of 129




EXHIBIT ''A''
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 6 of 129




                   IN THE SUPERIOR COURT OF FULTON COUNTY

                              STATE OF GEORGIA



    IN RE: 2 MAY SPECIAL

    PURPOSE GRAND JURY



                                     2022-EX-000024


            TRANSCRIPT OF SPECIAL PURPOSE GRAND JURY HEARING
               BEFORE THE HONORABLE ROBERT C.I. MCBURNEY
                 ON JANUARY 24, 2023, ATLANTA, GEORGIA

    APPEARANCES:

         ON BEHALF OF THE STATE:

          *FANI WILLIAMS, ESQ.
          ELECTED DISTRICT ATTORNEY

          ADA FMCDONALDWAKEFORD, ESQ.

          ADA WILL WOOTEN, ESQ.

          ADA ADAM NEY, ESQ.

          ADA NATHAN WADE, ESQ.

          ON BEHALF OF THE MEDIA INTERVENORS':

          THOMAS M. CLYDE, ESQ.

          LESLI   GAITHER, ESQ.



                      KAREN RIVERS, RMR, RPR, CCR-2575
                          OFFICIAL COURT REPORTER
                     FULTON COUNTY JUSTICE CENTER TOWER
                          185 CENTRAL AVENUE, S.W.
                          ATLANTA, GEORGIA 30303
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 7 of 129




                                  THE COURT:                  So,      Mr. Ney,              if     I could               have

          the     appearance                   for     the      State.

                                  MR. NEY: Adam Ney,                           your        Honor.

                                  THE COURT:                  And on behalf                   of         the        media

          interveners?

                                  MR. CLYDE: Your                      Honor,          Tom Clyde                    and

          Lesli           Gaither.

                                  THE COURT:                  Welcome           both         of you.

                                  Mr.       Clyde,           will      you be doing                      the        primary

 1        speaking               for     the         Media      Intervenors'.                       I'm         happy        to

 1        have       it         spread         out     wherever,           but         if         I have

 1        questions               for       your       side,          should          I just         pose            them

 1        and     you guys               will         flip      a coin?

 1                                MR. CLYDE: I welcome                           just         posing                them,

 1        and     we'll           flip         a coin,          but      I anticipate                     I will            be

 1        doing           the     bulk         of     the      argument.

 1                                THE COURT: Great.                            Mr. Ney just                     breathed

 1        a side           of     relief.

 1                                Mr. Wade,              who will              be answering                     questions

 2        if     I've        got        any     for      the        District           Attorney's                    Office.

 2                                MR. WADE:                  So,     Judge,           here         for         the    State

 2        is     myself,               Nathan         Wade.           Donald          Wakeford                 is    here        as

 2        well       as well             as Adam Ney and Will                              Wooten.                  Madam

 2        District               Attorney             will      be making              an appearance                        as

 2        well,           Judge.            But,       for      the      bulk         of     the         argument            we
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 8 of 129




          anticipate                it     will            be Donald                Wakeford.

                                   THE COURT:                    Great.              Well,         welcome           all      of

          you.

                                   So,     we're            here        to      discuss            whether           the

          final          report           that        the        special             purpose          grand          jury

          that       was created,                     if     you will,                 by Chief             Judge

          Brasher's                order            from     January                24th      of    last       year         and

          that       was empaneled                         in May of                last      year.          Whether

          their          final           report            should         be made public,                      in part,

 1        in whole                or if        it         should         remain            where      it      is,     which

 1        right          now is           solely            in     the        District             Attorney's

 1        custody.                 So everyone                   is      clear,            I hand          delivered             to

 1        the      District               Attorney               the      copy         of     the     final          report

 1        soon       after          it     was available,                           and my colleagues                       have

 1        voted          that       the        special             purpose             grand        jury       had

 1        completed                its     work            and     should            be dissolved.,                        And

 1        that's          the       one copy                I'm       aware          of     that      is      in

 1        circulation                    within            the     District                Attorney's               span      of

 1        control.                 But      the       question                has      come up as to

 2        whether            it     should            be shared                 more        broadly.                The

 2        special           purpose                 grand        jury         voted         pursuant            to

 2        O.C.G.A.                15-12-80                to have            the     report         made public.

 2        We need            to     work            through            the         consequences,                if    any,

 2        of      that      vote.              We need             to        talk      about        whether            this

 2        final          report           is        the     equivalent                 of a general
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 9 of 129




          presentment,                  if       those          terms         really            even         make a

          difference,                  and we need                 to    talk            a little              bit         about

          how the           final          report           might        be viewed                    as     what          the

          courts        have           referred             to     as    court            records,                which

          enjoy       a presumption                       of public                access,              or     if      this

          final       report            is       somehow           something                   different.                   And

          I'll       note        going           in      that      there           are         precious              and         few

          cases       in     Georgia               dealing          with           special              purpose             grand

          jury's        because               they        are      few and               far      between.                  But

 1        there       are        some,           and      they      provide               some guidance                          as

 1        to     what       can        happen           with       a final               report            from        a

 1        special           purpose              grand          jury.          I think                there          is

 1        precedent              for       their          final         reports                being         disclosed.

 1        I'm      holding             one       in     my hand.               It      was one               of      the

 1        exhibits           to        the     media            intervenors'                    brief,              so it's

 1        been       done        before.                 That      doesn't             mean that                    that        was

 1        the      right         thing           to      do.       It    also            doesn't             mean that

 1        that       special            purpose             grand        jury          was sufficiently

 1        similar           to      this         one.           That     this            one's          report             ought

 2        to     be treated                the          same way.              I just             want         to      be

 2        thoughtful              about            it     because             there's                clearly           great

 2        interest           in        the     work         that        the         special             purpose             grand

 2        jury       completed,                  and we need                  to     be responsive                         to

 2        what       may be competing                           concerns             of        the      investigative

 2        interests              of     the        District             Attorney's                    Office           and        the

                                                                                                                                        4
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 10 of 129




          public's            interest                  in     understanding                        what         its

           colleagues,                  the        members            of        the        special          purpose

           grand       jury          did       after           they            heard        the      evidence                  that

          was presented                       to    them.

                                So,           Mr. Wakeford,                      I'm        happy,          if          there's

           something            you want                 to        say         up front,             but         otherwise,

           I've       got      questions                 that            I'd     love         to     get         a DA's

           Office          prospective                   on to            help         me frame                 this,          and

           then       I have            similarly                  for         Mr.     Clyde         and         Ms. Gaither

 1         some questions.

 1                              MS. WILLIS:                          May I address                        the      Court?

 1                              THE COURT: You may.

 1                              MS. WILLIS:                        Fani         Willis,             the     Elected

 1         District           Attorney                  for        Fulton             County,             on behalf               of

 1         the      citizens               and      the        state.

 1                                 I believe                  that        Mr. Wakeford                     will          give         you

 1         some of           the        answers               that        you have                 required.                   But

 1         just       as     an overview                      --     first            of    all,          the      thought

  1        that       this         is      a presentment                        grand         jury,             you and           I

 2         both       know it's                really              kind         of     a nonsensical

 2         question.

 2                              THE COURT:                         So,         be thoughtful                     as you work

 2         through           this.             Because               don't            lump me with                      you as         to

 2         who thinks                what          is     nonsensical                      and      what's              not.          So

 2         you tell            me what              you think,                    and       then          I will           let        you
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 11 of 129




           know later              on what         I think.

                                  MS. WILLIS:             Fair         enough.

                                  THE COURT: Excellent.

                                  MS. WILLIS:              Back         in May of              last       year,

           the      Honorable            Chief       Brasher            swore          in    26 members              of

           the      public         to    create          a special             purpose            grand        jury.

           Their         entire         function          was to be an investigative

           tool.           And we are             very     very         thankful             to    those

           citizens.               As you and             I both          know,         they       gave        up a

 1         great         deal      of their          time.             Hopefully,              you and          I can

 1         agree         on that.

 1                                THE COURT:              We do.

 1                                MS. WILLIS:             And heard              from        75 witnesses,

 1         saw countless                 exhibits,             but      all      for        the    purpose           of

 1         investigation.                   At this            point,           reaching           back        to

 1         prior         experience          of both             myself          and        I'm    going        to

 1         say      you again,            because          I know your                  history           is    that

 1         you've          been     a prosecutor.                      Often      when a prosecutor

 1         is      in    a trial         courtroom              they      find         themselves              in

 2         this         position         of not          only      protecting                the      rights         of

 2         the      victims,            witness          and     the      community,               but     making

 2         sure         that      Defendant's             rights          are     protected,               too.

 2         Rights          sometimes          is     a very            selfish          interest;              you

 2         don't         want      the     case      overturned.                  And so as the

 2         prosecutor              we stand          in    that         position             of protecting
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 12 of 129




          everyone              in     the      courtroom's                     rights.               Having                been

          one      of very             few people                    that       have        had       the

          opportunity                  to     read         that         report,             you being                  the

          other          one,        I think           we can               assume          that        fact              is        also

          true.           In this             case,             the     State's             understands                         the

          media          inquiry             and     the         world          interests.                    But           we have

          to      be mindful                 of protecting                      future           defendant's

          rights.               And so what                     the      State         does          not      want              to      see

          happen,           and        don't         think             that         there's           anyway                the

 1        Court          would         be able             to         guarantee,                is    that            if        that

 1        report          was         released             there            somehow             could         be

 1        arguments              made that                 it         impacts          the       right              for         later

 1        individuals,                      (multiple)                 to     get      a fair              trial,               to

 1        have       a fair            hearing,                 to     be able             to    be tried                      in     this

 1        jurisdiction.                       The list                 can      go on and                  on.            And so

 1        representing                   the       state              of Georgia                and        these

 1        citizens,              I know we have                          this        common interest,                                 we

 1        want       to     make         sure        everyone                 is     treated               fairly,                  and

 1        we think              for      future            defendants                  to       be    treated                    fairly

 2        it's       not        appropriate                     at     this         time        to    have            this

 2        report          released.                   I,        as     the      elected              District

 2        Attorney,              have         made several                      commitments                      to        the

 2        public          understanding,                         the        public           interest                 around

 2        this       case.             The first                 was before                  you were                 assigned

 2        to      this      case.              I said            by June             of      that          year            I would

                                                                                                                                              7
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 13 of 129




          make      a decision               as     to    whether             we would             ask     for          a

          special          purpose           grand        jury.          In     fact,         I did            so in

          May,      which       is     why they             were        ruled         on in         May.            I

          then      asked       for        a special             purpose         grand             jury        to       last

          for      a year,          but      made certain                commitments                 by the                 end

          of     such      year,       meaning            last         year     2022,         the         special

          purpose          Grand          Jury's         work      would        end.          At this               time,

          in     the     interest            of     justice            and     the        rights          of     not

          the      state       but        others,         we are         asking            that       the        report

 1        not      be released.                    Because         you haven't                seen          that

 1        report,          decisions               are    imminent.

 1                             THE COURT:                 All      right.             Thank         you.            And I

 1        didn't         mean to           skip      over         you DA Willis.                      Mr. Wade

 1        had      mentioned              that      you would            be appearing                     at     some

 1        point,         but    that         Mr. Wakeford                would            be primary

 1        spokesperson.                    So,      I wasn't            sure         if    the      way in

 1        which         you all           were      going         to    present,             but      thank             you

 1        for      sharing           those         overview            comments.

 1                             Mr.        Wakeford?

 2                             MR. WAKEFORD: Good morning,                                       Judge.

 2                             THE COURT:                 Or afternoon.                      How are             you

 2        doing?

 2                             MR. WAKEFORD: I'm                        just         fine,         Judge.

 2                             THE COURT: Good.

 2                             MR. WAKEFORD: So I understand,                                            your       Honor

                                                                                                                                  R
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 14 of 129




           --     I have         a question                  for      your         Honor         first,          and        then

           I understand                   that        your         Honor         has     questions               for        me.

           If     you'll         indulge              me?

                                 THE COURT:                   I will.               Maybe.

                                 MR. WAKEFORD: Sure.                                   That's           your

           prerogative,                   Judge.

                                 Your        order           actually              calling            for      this

           hearing          made mention                     of a certification                             from       the

           grand         jury      that          they        asked          that       their          report           be

  1        published             under           O.C.G.A.                 15-12-80.              To my knowledge

  1        standing             here,        I also           --          I don't        want         to     make

  1        comments             about        the        contents              of a report                   whose

  1        confidentiality                       is     the        subject          of this             hearing.

  1                              THE COURT:                   Sure.

  1                              MR. WAKEFORD: But                               I'm     prepared              to      say

  1        that      a mention               of       15-12-80              is     not      in       the      report.

  1                              THE COURT: Sure.

  1                              MR. WAKEFORD: So I'm                               asking            your       Honor

  1        what      the        source           of the            certification                   mentioned                  in

  2        your      order          is.

  2                              THE COURT:                   The grand                jurors.                So,      it's

  2        not      --     you're          correct,                it's       not      in      the         report.             It

  2        is      something              that        they         did      after        they         completed

  2        their         work.

  2                              MR. WAKEFORD: Okay.                                All        right.            Thank

                                                                                                                                    9
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 15 of 129




           you,      your      Honor.                  That        was not             one       thing          I was not

           able      to     ascertain.

                               THE COURT:                      Sure.              You didn't                   miss

           anything          nor      was I reading                         between              the      lines            or

           there's          a footnote                  that         was omitted.

                               MR. WAKEFORD: Okay.                                      And I understand

           your      Honor        has       questions                  for        me.           I'm      fully

           prepared          to      engage             in     a dialogue                  if      that's             the       way

           you would           prefer             to      proceed.

 1                             THE COURT:                      Well,          let       me ask            some

 1         threshold           questions                  because             that         may help                  focus        the

 1         dialogue          and          also         focus         the      dialogue                  with        Mr.      Clyde

 1         and      Ms. Gaither.                       I'm     trying             to    understand                    the

 1         basis       for     the         request             for        nondisclosure,                        and         I'm

  1        approaching               it         from      a number                of    angles.                 One is            the

  1        fairly         limited               scope         of     secrecy            of       grand          jury         work

 1         in     Georgia,           and         with         that         I'm      particularly

 1         influenced             by the               Olsen         case         where          the      Supreme

  1        Court      made plain                  that         their          view         of      the         statutory

 2         framework           for         grand          jury's             is     that         really             only

 2         deliberations                   are         secret.               Secret             isn't          the      only

 2         touchstone             here,           but         that's          what's             in      the         oath,        is

 2         that      deliberations                      are        kept       secret.                   You,         had     you

 2         been      present              for         anything             that        happened                in     front        of

 2         the      grand      jury             are     not        bound          by any              statute           or      oath

                                                                                                                                        10
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 16 of 129




           to     maintain                secrecy            about            anything            that          happened.

          None of              the        witnesses                 who appeared                  are      bound           by any

           oath.           Their           oath         is     simply               to provide             truthful

           testimony.                     Not      to     then         not          disclose            their

           testimony                 to    the      media,             their           uncle       or      anything

           like      that.                And grand                 jurors           are     bound         by their

           oath      only         not        to      discuss             deliberations.                          So unless

          we --          and         I believe               it's        a stretch.                     Unless           we

           somehow             stretch             to     say         their          final        report           is      their

 1         deliberations                     then,           I think,                we're        already               outside

 1         the      statutory                realm           of what's                 secret.             That          doesn't

 1        mean       something                   should             be disclosed                  just      because

 1         it's      not         secret            as part             of      the      grand           jury.            But

 1         going         into         this         my thinking                  was everything                          with        the

 1        grand          jury         is     secret            and       there          had       to     be an

 1         exception.                     And in          Georgia              it      seems       like          it's

 1         almost          the        reverse.                 It's          very       different                from

 1         federal             grand         jury.            And I know I asked                                you to

 1         share         some thoughts                       about           how we're             going           to      work

 2        with       the         special            grand             jurors          going        forward.                    And

 2        there          are      lessons               to    be drawn                 from       federal               practice

 2        but      are         not        driving            our       decisions.                  So talk               me

 2        through              just        first          this         question              of    secrecy               and why

 2        if      that's          one        of     the       arguments                 you think                that          --    it

 2        really           doesn't              matter           what          you want            to      do,          Judge,

                                                                                                                                          11
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 17 of 129




           it's       secret             statutorily                  the        final          report.              And then

          we'll           evolve             to     a court           record           or       not    or      this

          notion            that         in        someways           may be nonsensical                             that        a

           final          report             is     equivalent               to     a presentment                     of     the

           special            purpose               grand        jury.

                                   MR. WAKEFORD: Okay.                                 Yes,        your        Honor.

          And let             me say               also,        if    there         are         questions                    I

          would           ask      your            Honor        if    there         are         questions             at     the

           end       of     the         hearing             today      that         I feel            that       I can

 1         request            us to           provide            a written                response             or more

 1         research               on,        I would            simply           ask      for      the        opportunity

 1         to       do that.

 1                                 THE COURT: Sure.

 1                                 MR. WAKEFORD: So,                              in      other        words,           that

 1         the       report             is    not          --   a decision                is     not      rendered               and

 1         the       report             is    not          released          at     12:59          pm on today.

 1                                 THE COURT:                    That's           not       how it            will

 1        happen.             They'll               be notice               in    case          there's          decisions

 1         that       want         to        be made after                   you understand                      what        the

 2         decision               is.

 2                                 MR. WAKEFORD: Understood.                                             I also         will

 2         --       sorry         for        all      the       prefaces.                 I have          to     be a

 2         little           bit         circumspect                  because             I have          to    talk         about

 2         this       report             while             attempting             not       to     divulge            the

 2         contents               of     the        report.

                                                                                                                                       1 ?.
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 18 of 129




                               THE COURT:                     And I intend                             to        do the             same.

          So none           of my questions                             will        be about                            well,          what

          about       page          six,         if     there's                even         a page                six,          if     the

          pages       are      numbered.                     That's             not         --I         promise                 I won't

          be trying            to      drag           you into                 --     oh,         but            wait      this

          part       here      or         tell        me what                part      you             think            ought          to

          be redacted.                     That         assumes                that         I would                 have

           decided          some part                 ought             to     be made public.                                  I

          haven't.           We can              keep        it         at     the     very             high            level,          and

 1         in     why is       it         a secret.

 1                             MR. WAKEFORD: I'm                                    glad          to         here        that          your

 1         Honor.           I just             didn't         want             to     try         your            patience              if

 1         I keep         talking              about         the         report             could                be rather

 1         than      what      the         report            is.             But,      I'm             glad         you

 1         understand               the        position                 that        we're              in.

 1                             THE COURT:                     And I think                         it         helps         Mr.

 1         Clyde         and Ms. Gaither                          are        necessarily                         going          to     have

 1         to     approach           it        that      way.                They      don't                 know what

 1         color      paper          it        was printed                     on.          Is         it        double

 2         spaced,          and what's                  in        it.          By you and                        me having

 2         exchanges           at         that        level             as well             will             make it                easier

 2         for     the      different                 prospective's                         to         share            their

 2        views.

 2                             MR. WAKEFORD: Right.                                          Okay.                  So,         then

 2         the     question               of     secrecy,                your         Honor                 --    I would              say

                                                                                                                                              11
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 19 of 129




           that      the        special           purpose            grand           jury's              report            in

           these      circumstances                      --     well,          actually                  in       all

           circumstances.                        Special           grand           jury's              are        special.

          We have           learned              that       over        the        course              of     the        past

           year.          As your             Honor         referred               to        at    the        outset             of

           this      hearing,                there       is     precious                 little              litigation

           on this          topic.

                                  THE COURT:                  They       are         special.                     I'm      going

           to     pause          you from            time       to      time         because                 If     I don't

 1         write      my question                    down I need                   to        ask       it.          There            are

 1         only      two statutes                    about         special              purpose                grand            jury.

 1         And one          of them              says,        use       all        the           other         statutes
                                                                                        '
 1         about      grand             jury's          unless          they         somehow                 conflict.                     I

 1         don't      know how they                      conflict              because                 there's             so

 1         little          in     101 and            102.          So,        there              are     many things

 1         we know because                       we look           at    all         the          statutory

 1         framework              for        regular          grand           jury's.                  Same oath.

 1         And that              oath        says       your       deliberations                         are        secret.

  1        Your      oath         wasn't            different,                if     you took                  one.             It

 2         doesn't          bind         you in          anyway.               The witness's                            take         the

 2         same oath              and        they're           not      bound               in    any way by any

 2         sense      of         secrecy.               Yes,       special               purpose               grand

 2         jury's          are     different.                   They          last           longer.                They

 2         investigate                  in    a different                way.                They        cannot            hand

 2         down a bill                  of    indictment                or anything                      like           that.

                                                                                                                                               74
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 20 of 129




          But,      in    lots         of ways           their              grand          jury's.                    And so I

          think      that        needs          to      guide          our      discussion.                            And a

          regular         grand         jury           per        Olsen        this             is      the         pretty

          narrow         parameters               of what's                  secret.                    Their

          deliberations.                  You can't                   be in          there              for         them.

          Grand      jurors            can't           discuss              their          deliberations.

          But      when they're                 done,              here's           our         indictment,                    our

          presentment,                 whatever               it      may be.                   And so I'm

          analogizing,                 perhaps,               mistakenly,                       and          you can           help

 1        me work         through              that.               When we slide                        over          here      it's

 1        a special             purpose           grand             jury.            Those              grand          jurors

 1        ought      not        talk      about              their          deliberation,                           but      when

 1        we're      done        what        pops            out      of     the      toaster.                        Instead

 1        of      an indictment                 is      a final              report.                    I don't              see

 1        how that's             secret           based             on the           statutory                      framework

 1        in      which       we're       working.                    Again,          not             dispositive.

 1        But,      you may be able                          to      convince              me it              is      secret

 1        because         of     this          case          or      that      case.                  I know you

 1        don't      have        a case,               you would               have             sent          it      to me

 2        long      before,            but      I'm          interested               in             your          analysis.

 2                              MR. WAKEFORD: Thank                                  you,             Judge.              I guess,

 2        let's       start          up here            then.               And the                  first          point       to

 2        be made          is    that          special               purpose          grand                  jury's          can       be

 2        empaneled             at     the      explicit                request                 of      the         District

 2        Attorney,             the     prosecutor,                     which             is,         in      fact,          what
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 21 of 129




          happened             in    this      case.            It      was empaneled                with         the

           request         that        they           investigate              certain        matters             and

           also      be in          power        to provide              charging

           recommendations,                      if     any,       to    the      District           Attorney'

          who would             then        not        be bound          by those

           recommendations                    but       could        be advised              by them            moving

           forward.

                                THE COURT:                  Right.          The special               purpose

           grand      jury          whose        report         is      Exhibit          C of       the     media

 1         intervenors'                filing,            which         was Dekalb,             presided

 1         over      by Judge           Scott,            do you know --                  I don't,               that's

 1        why I'm          asking.             Was that              special         purpose              grand

 1         Jury      convened           at       the      request          of     Robert        James,            who

 1        would       be Ms. Willis's                       counterpart              at      that         time      in

 1         Dekalb         County.

 1                              MR. WAKEFORD: I actually                                  do not           know the

 1         answer         to    that        question.

 1                              THE COURT:                  That        would      be an interesting

 1         question            to    answer.

 2                              MR. WAKEFORD: But                        I will          endeavor           to      find

 2         out,      of    course.

 2                              THE COURT:                  Me, too.

 2                              MR. WAKEFORD: But                          in     this       case

 2         specifically,                I think             the      specialness              of     special

 2         purpose         grand        jury's            in      someways         point        to        how

                                                                                                                           1n
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 22 of 129




           individual                  they      are.         So,         in        that        case       that's               a

           fine      example.                  The ambit              of       the         authority              for           the

           special            purpose            grand         jury        in        that          case        was to               look

           into         a civil           investigation.                            That        is     not      what            this

           case         is    about.             This        case,         as we have                     litigated                    it

           constantly,                  and      as     your         Honor           had        purpose           to        look

           into         constantly,                  has     been         a criminal                   investigation

          at      the        request           of     the      District                Attorney.                  And the

           report

 1                                 THE COURT:                  I'm        going            to    pause          you for                     a

 1         second.                Page        six,      pursuant               to      the         relevant

 1         statutes.                   On September                  7,    2011,             the       District

 1        Attorney                --    so Robert             James            --requested                     that         a

 1         special            purpose            grand        jury         be empaneled.                          Dekalb

 1        Stone          Mountain              Judicial              Circuit               voted          to    approve.

 1        Entered             an order,               and thus,                was created                     that

 1         special            purpose            grand        jury.                 So structurally,                            it's

 1        the       same          or    similar.              DA James                 said,           I need           a

 1         special            purpose            grand        jury         to        investigate

 2         something.                   And as a result                        of      their           investigation

 2        there          was a report                   and     it        was published.

 2                                 MR. WAKEFORD: Yes,                                your          Honor.             What I'm

 2         saying            is    then        in     this      case           it      was requested                        by the

 2        District                Attorney            for     the         sole         purpose             of

 2        conducting                   an investigation                        into         possible              criminal

                                                                                                                                                17
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 23 of 129




           activity.                  And that                the      report,            therefore,                      could

           consist             of     several                different            types            of        information.

           There         could         be a summary                         of what          the          grand           jury

           came to             find         out        in     the      course           of        its

           investigation.                         There             could       be a list                    of     statutes

           that        the      grand            jury         thinks           might         have            been      violated

           by someone.                      There            could          be a list              of        individuals

           with        accompanying                     activities                that            the        grand         jury

           believes             could            be--         could          have       broken               the      law.          It

  1        could         even         get        more         detailed            than            that.             And so the

  1        actual            content             of     the         report          I think               gives           us some

  1        guidance             here         as        to     how secret                to      perceive--                   how

  1        much respect                     to    provide              the       secrecy                of     this        report.

 1         Because             as     your        Honor             knows       ongoing                 criminal

 1         investigations                        having             different             --a           different

 1         understanding                     as        far      as     court           records               are      concerned

 1         in     this         case.             And in             fact,        records                that        are      part

 1         of     an ongoing                 investigation                      are       not           subject            to

 1         public            scrutiny.                  When the               District                 Attorney

 2         requested                that         the         special           purpose             grand            jury

 2         engage         in        this         investigation                    and provide

 2         recommendations                        if         they      saw fit,              it         was as part                 of

 2         --     at     that         time        and at              this       time        ongoing                criminal

 2         investigation.                         If         that      report           contains                   information

 2         it     is     for        the      use        of      the         District            Attorney               per        the

                                                                                                                                         1R
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 24 of 129




           empaneling                 order.                   If    that         report            contains               charging

           recommendations                          that            is     certainly                solely           for        the

           use      of     the         District                 Attorney,                  and      I would              argue

           that      under            the          law what                the     law           tells          us under

           15-12-101,                  I believe,                    is     that           the      only         required

           recipient                 of      the         special            purpose               grand          jury's             final

           report          is        you as              the        supervising                   judge          except             in

           this      case            where          it     was also                the          district             attorney.

           Because             if      --     whether                there         are           recommendations                         or

  1        not      the        District               Attorney                  has        to     ascertain                that.

  1        So has          to        see      the         report.                 So I think                    that's          a

  1        lesson          right             there,             in       that      the           content           of      the

  1        report          and         the        nature             of     the       empaneling                   order            in     a

  1        specific                 special           purpose               grand           jury          can      affect             how

  1        we view             it     under              the        law.         And of             course,              I will

  1        speak          to        court          records               and presentment                         versus

  1        reports             in     greater              detail.                 But           I think           that          is      an

  1        indication                 of what              we are               operating                 under          with

  1        regard          to        the      statutory                    language.                     The content                  of

 2         the      report             should             be the            guide           for          this      court            as     to

 2         exercising                  its        discretion                    and        how to           move forward

 2         with      respect                 to     secrecy                and publication.

 2                                   THE COURT:                      But        what        --      I follow.                   But

 2         what      about            the         process                makes        it         secret?             I'm         trying

 2         to     understand.                       We need                to    be guided                  by the

                                                                                                                                                1g
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 25 of 129




           statutes           that      are       not        there      for        optional

           consideration                and       the        deliberations                     are         secret.

          Are       you saying             this         is    deliberations                     or     you're

           saying        you know what,                      judge,       let's             table           the        whole

           secrecy        thing.              Because           I don't            think             you can

           stretch        the        statutes            to     say     the        report             is      secret,

          but       maybe       this       is     where         you want               to      go next.                 The

           report        is    not      a court              record,          so we don't                     get       to

           Uniform        Superior               Court        Rule      21 analysis.

 1                             MR. WAKEFORD: That's                                exactly             where            I

 1        would        head      next.

 1                             THE COURT:                    Okay.        Let's             go there.

 1                             MR. WAKEFORD: I would                                    flip         the      question.

 1         I would        say        in what            respects             is    it       secret            is       one

 1         way in        looking           at     it.         And certainly,                         I'm      sure          that

 1         my colleagues                from        the       intervenors'                     would          look          at

 1         it     from    that         prospective.                    I think              I have            looked             at

 1         this       question          as what              makes      it        subject             to

 1         publication.                 And ~here's                   nothing            in     15-12-100                   or

 2         101 that           indicates             that        there         is        any     contemplation

 2         of publication.                       Any special                 contemplation                        of

 2         publication.                 And I know where                          your         Honor's              going.

 2         Because        15-12-102               says        that      part            one     of         the      grand

 2         jury       code      sections            applies            unless            otherwise

 2         indicated.                But        15-12-80         which            is     with         regard            to

                                                                                                                                      ?.O
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 26 of 129




          publication                   applies          only        to      general            presentments.

          And again,                the        content          of    a special                 purpose                grand

           jury         report          can     contain             elements              of    both             a general

          and      a special                 presentment.                    Making            it         a third          kind

           of     thing.            A special                purpose             grand         jury         report          it's

           an isolated                  instance             under         the      law.

                                  THE COURT:                   But     I want             to        --I     think          we

          may be able                   to    dispose           of    one         term         so we don't                  get

           too     confused.                 My understanding                       is      that           this        concept

 1         of     special           presentment                 has        gone      away.                 That

 1        basically               indictments                  and    special              presentments,                         one

 1         in     the      same.             We don't           do special                 presentments

 1         anymore.               A grand             jury      can        indict           someone               if      they

 1         are     presented                 --first,           if    it's          not        a special

 1        purpose               grand        jury.           But     in      reviewing                    case      law     that

 1         you've          provided             and      that        I'd         received                 from      the

 1        media          intervenors',                   I got        the         sense             that         we really

 1         don't         even       use        that      term        "special              presentment"

 1         anymore.               You're          welcome            to.          I dont             know that--I

 2         think         it's       going         to     cloud        things              a little                bit.           I

 2         think         in      one      corner         you've            got      charging                documents

 2        which          this       body        had      no authority                     to        present.               And

 2        we have               a history.               There's             at     least            one         Supreme

 2         Court         case       dealing             with        a rogue              special            purpose

 2         grand         jury       that         this        said     not         only         do we think                  you

                                                                                                                                       7.1
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 27 of 129




           should          do this              DA, but              we've             indicted         him for                  you.

           Thank          you.        That's                a step              you can't            take.              That's

           the      District              Attorney's                      decision            to     make and                then

           ultimately               a regular                  grand             jury        hearing          the

           evidence              deciding              whether                  there        ought      to        be a true

           bill.

                                   MR. WAKEFORD: That                                     was an court                  of

           appeals              decision.

                                   THE COURT:                      Court             of    appeals.               Either

 1         way,      it      was out             of Gwinnett                         County.           That            is    not

 1         what      we're          dealing              with             here.            So I don't                  know that

 1         we get          into          special             presentment.                       Why is            the        final

 1         report          so distinct                      that          it     ought        not      to    be treated

 1         as      a general              presentment,                          and       15-12-80          ought            to        be

 1         so narrowly                read            that         it's          only        a general

 1         presentment,                   whatever                 the          heck       a general

 1         presentment                   is.

 1                                 MR. WAKEFORD: That's                                      sort      of     the           problem

 1         right          there,          your         Honor.                   Is    that               first              of        all,

 2         special           presentments                      just             to    put     that      to        bed,            I

 2         think          the      distinction                     is          not    only      that        they            are

 2         charging,               but         they      make specific                        allegations                    of

 2         wrong          doing       under            the         law.              So there          is     a

 2         possibility                that            the      report                can     contain          what           is

 2         essentially                a special                    presentment                  within            it        because
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 28 of 129




           they      were         empowered            to         do precisely                     that.            So I'm

           coming         back      to     this        thing             again.                 The content                of

           the     report          should            guide         their            analysis'.                   The

           special          purpose            grand         jury            was authorized                        to     return

           a report          that         was in            all        but         name took               the      form

           after      of     a special                presentment.                             That's          something

           they      had     been         authorized                    to        do.          They      were       also

           authorized                     I mean,            it         just            says      report.               They

           could      have         come back                and         just        provided               a summary                of

 1         what      they         heard        everyday.                     Or they              could         have

 1         provided          a two page                summary                    of what          overall              they

 1         thought          the     picture            --         the        picture              painted           for        them

 1         was.       That         they        are     authorized                        to     do any           number         of

 1         these      things.              And the                report            can         take       any      of     those

 1         forms.           So a special                   purpose                 grand          jury         report          as

 1         we'll      see         can     take        the         form         of        something              akin       to       a

 1         special          presentment                or         to     a general                 presentment                  or

 1         have      elements             of     either.                 And where                 15-12-80

 1         specifically                 says      general                presentments                      I don't

 2         think      that         we can            say     it        applies                 without          question

 2         to     a report          issued            by a special                        purpose              grand       jury.

 2        Additionally,                   I would            point             your            Honor       to      15-12-71.

 2         That      is     the     duties            of     the         grand            jury          statute.

 2         There's          something             interesting                       within              this       statute

 2         in     a couple          of     instances.                        It     was actually                    pointed
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 29 of 129




           out      by the          intervenors'                       in    their                 submission                to       the

           court.           Which            is     that         15-12-80                   is      specifically

           mentioned             in     15-12-71                 with        regards                 to        presentments.

           What's          interesting                    is     that        when             it     appears               the

           legislature                 has        taken          pains           to         point          out        that        a

           report          or    presentment                     provided                   as      a result               of     a

           civil       investigation                          conducted                 by a regular                       grand

           jury       is    subject               to      15-12-80               also.               They           also         later

           say      a decision                by a grand                    jury            not      to        pursue

  1        charges          or      recommend                   charges                against             a peace

  1        officer          who has               been          accused                of     an unlawful                    use         of

  1        force       is       also         subject             to     15-12-80.                        That         report             or

  1        presentment                 is.          If        they      recommend                    that           charges              are

  1        pursued,             they         can       recommend                  it        by either                 requesting

  1        an indictment                     or     special             presentment.                             So,       in     these

  1        other       places'the                   legislature                        has         not     assumed               that

  1        15-12-80             applies             to        any      report               that          a grand            jury           is

  1        empowered             to     produce.                     When they                     have        to     produce

  1        these       two       reports               as       they        are         required                 to    under             the

  2        law      they        have         taken            pains         to         say,         oh,        and        15-12-80

  2        applies,             and      that            is     within           part              one     of       the      grand

  2        jury       code       sections.                      Part        two,            which          says           that

  2        unless          contradicted                        everything                    in     part         one       applies.

  2        There's           just        no mention                    of    15-12-80                     in     the       special

  2        purpose           grand           jury         statutes.

                                                                                                                                                 ?.4
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 30 of 129




                                THE COURT:                    There's                 not.          They          don't

          mention          any      other          statute                 from         that          first           part.

           They      simply         say      all        of        the         first          part          is

           incorporated                insofar               as     it's           not        specifically                     in

           conflict.

                                MR. WAKEFORD: And the                                         other           term       --Well,

           it's      specifically                  in        conflict,                   I would                say    the        term

           they      use     is     report,             it        is       not        general              presentment.

          Now,       I understand                  the        position                  of      the        intervenors'.

 1         We're       not      closing            our        eyes            to      their         position                  that

 1         come on,          there's             no distinction                           between                a report

 1         and     a general               presentment.                           I would             refer           you,

 1         though,         to     where          I began,                  which          is       that          in     this

 1         situation            the        law     has        created                 a situation                     where

  1        special         purpose            grand           jury            can        return            something

  1        that      is    either           special               presentment,                        a general

  1        presentment              or      has     elements                      of.both.                 And so it

  1        just      cannot         be considered                            to    not        be      in        conflict

  1        with      15-12-80,              which            says          general              only.

 2                              THE COURT:                    If        it        has     elements                 of both

 2         then      are     the       general               presentment                      elements

 2         publishable                at    the     special                   purpose              grand           jury's

  2        direction            but        not     the        special                 presentment                     parts.             I

 2         want      to    move away               from           labels.                 They          called             that      a

 2         report.           They          could         have           written                on there               general
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 31 of 129




           presentment.                             I think             you would              still           be arguing

           what           you're              arguing.                  Even      though            they         called              it

           general                presentment,                         and     thus         literally                under

           15-12-80,                    the         Court         shall         publish             other            than        ultra

           vires               stuff          that         I am empowered                      to      take          out.            They

           called               it      a final             report.                  I told         them         to     call              it   a

           final           report.                   You asked                 for      a final             report              so

           that's               why it              says      final            report.              But        what         if       there

           are       --         as      you said,                 it     can         contain            components                   of

  1        both           if         there          are     things             that         call        out      at     you as

  1        general                   presentment                  then         what         do we do with

  1        15-12-80?

  1                                     MR. WAKEFORD: Right.                                       And at            that        point

  1        if      it's              not      something                 that         could         be considered

  1        solely               a general                  presentment                  then        it's         not        a

  1        general                   presentment                  under         the         law.

  1                                     THE COURT:                      A hybrid             presentment?

  1                                     MR. WAKEFORD: Hybrid                                   --it's            a special

  1        purpose                   grand          jury      report.                 We have              a special

  2        purpose                   grand          jury      statute                that      makes           a special

  2        grand               jury         that          produces             a report.                   These         are

  2        ~solated                    under         the      law and                therefore                fall       outside

  2        of      the          general              understanding                      in     certain                instances.

  2        One thing                       that's          also         not     in      15-12-100                or      101 is

  2        that           a special                  purpose              grand         jury        cannot             indict.
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 32 of 129




           So 15-12-102                    says      all         the         rest        of     the      first           part

           applies.              That         doesn't                 say     they        can         indict.              So the

           court        of      appeals            in      its         wisdom            has       decided           well

           that       means           they        can't          indict.                 So just           because

           these        two statutes                     are      brief             and       you have              the       catch

           all       statute           does        not      mean we are                       incorporating                     a

           single         component                of part              1 unless                there          is

           something             glaringly                 obvious.                  It       actually              takes           a

           little        bit          of     --    a lot          of         analysis              to    look        into

 1         this.         And I think                    were           the         choice          of words              is

 1         report         and         where        the      report                 can    take          on this            sort

 1        of        strange           hybrid         form         that             you cannot              assume             that

 1        the        general           presentment                     as used            in       15-12-80              applies

 1         to       a special              purpose          grand             jury        report.                I think

 1         the       content           of     that         report             again           is    going           to     guide

 1        this        court's              analysis              as     to      how really                 to       look        at

 1        that.          And that                 ultimately                  if     there          is     something

 1        that        isn't           clearly           a general                   presentment                  15-12-80               I

 1        cannot         apply.

 2                               THE COURT:                      Okay.

 2                               MR. WAKEFORD: I also                                    think          that        we can

 2        reach         to      the        conclusion                  there         is       a discretionary

 2        aspect         here,             and     that          is     something                  Madam DA was

 2        actually              speaking             to.          If        there         are       recommendations

 2        the        District              Attorney              requested                those.               And if

                                                                                                                                            ?7
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 33 of 129




          there          are      any       in     there             or    if       there           are      not        any      in

           there         the      District              Attorney                in       its        ongoing

           investigation                    has        to      assess           what           has        been        provided

          by the          special             purpose                grand          jury.             This         report            was

           issued         10 days             ago.             I'm        not       even        --

                                  THE COURT:                     I don't                remember             when we had

           our      hand         off,       but        it's          recent.

                                  MR. WAKEFORD: It's                                    extremely                recent.

           There         has      been        no opportunity                            whatsoever                 for      this

 1         office         to         incorporate                 anything                in     the        document              into

 1         an ongoing                 investigation                       in    a meaningful                       way,         and

 1         to    make          the      ultimate               decision                 that        only         the

 1         District              Attorney              is      empowered                 to     make,            which          is

 1         either         there            will        be --          the          investigation's                        over

 1         and      no charges                will            be pursued                 or     the        investigation

 1         is    over          and      charges               will        be pursued.                      And where                 the

 1         express             purpose            of     the         report             is     to     investigate                    a

 1         set      of    circumstances                        and provide                     or     not        provide

 1         recommendations                        to     the         District                Attorney,                we think

 2         immediately                  releasing                before             the        District               Attorney

 2         has      even         had       an opportunity                          to     address            publicly

 2         whether             there        will         be charges                     or     not,        because              there

 2         has      not        been        a meaningful                     enough             amount            of      time        to

 2         assess          it,        is    dangerous.                      It's          dangerous                to     the

 2         people         who may or may not                               be named                  in     the        report
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 34 of 129




           for      various            reasons.                It's          also         a disservice                  to     the

          witnesses             who came to                    the      grand             jury        and       spoke        the

           truth       to      the       grand          jury.

                                THE COURT:                     So,          how do              --    how does           one

           reconcile              this        prospective                    with         the        parallel           highly

          public          proceedings                   with          the         January            6th    commission?

          Many of           the        same witnesses                        hopefully                saying          similar

           things         if      they        were          asked           the         same question,                  but

           that's         not      my business,                       and         the     commission              actually

 1         referring              to     the      Department                      of Justice,               you need               to

 1         look      at     these         people             for       these             things.            Dangerous.

 1         Pressure            on the            Department                  of Justice.                    They        seem

 1         to    withstand               that,          and they're                      doing        what       they're

 1         doing.           Maybe they'll                      bring              charges,            maybe       they

 1         won't.           Those         were          recommendations.                               I think          they

 1         were      called            referrals.                     But         clearly            congress,           one

 1         branch,          doesn't              tell        the       executive                 DOJ, another

 1         branch,          what         to      do.         But       there             was nothing

 1         clandestine,                  secret,             tucked               into      a report             that         the

 2         public         didn't          get          to    see       about             that        process.            And

 2         that's         different.                    That          was not             a special              purpose

 2         grand       jury.             But      that          is     another              situation             that         has

 2         been      ongoing             that          I think              I need          to       assess       and

 2         reconcile            with           how it's               happening                 here.           Our

 2         legislature                 didn't           choose              to     have         hearings          like

                                                                                                                                        7.9
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 35 of 129




           that,          and       so the          way the             District                  Attorney                  explored

           it      was     through               the      one means             she          had,            a special

           purpose             grand         jury.              Parts      of        it      secret.                    Some of

           it,      maybe           not.          But      this         danger             and         impact               balance

           it      against            the        fact      that         the     January                 6th· commission

           seem       to       do what            it      did      and        DOJ didn't                     have           to    shut

           down after                 those            referrals              came.

                                    MR. WAKEFORD: Well,                                   first         of        all        they

           were       looking               at    issues           in    a different                         light           than

  1        the      special            purpose             grand         jury             was asked                  to      look         at

  1        them.           Obviously,                   Congress              addresses                 the          entire

  1        nation.              Special                purpose          grand             jury         is        focusing                on

  1        Georgia             and possible                     criminal             activity                    within           the

  1        state          of    Georgia                or the       touches                upon         the            state        of

  1        Georgia.                 Additionally,                   Congress                 doesn't                 have         to

  1        contend             with         15-12-101              and        102.           I'm        not         making

  1        fun.           We are            traveling              under        the          law        here.                So

  1        Congress             --     if        there's           danger            created                 because              they

  1        are      not        bound         similarly              by concerns                        of        grand           jury

  2        secrecy             or     traditional                  secrecy                here         or        the        --    I'll

  2        put      it      this       way.             Congress              was going                 to        conduct

  2        this          investigation                    because             Congress                 can        conduct

  2        investigations.                             That's       something                     it        is    empowered

  2        to      do.         It     was not             conducting                 an investigation                               at

  2        the      request            of        the      Department                 of       Justice                  to      provide
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 36 of 129




           recommendations                    which      would           inform           it's          ongoing

           investigation.                     That's         what        happened                here.           So to



                                  THE COURT:             But       I guess              the       point          I'm

           making          through          that       observation                 is     --it's           21.          I

           don't          know that           you pointed                to    any        law       that         says

           the      final         report        must     not       be disclosed.                         Reasons

           for      it.          Policy       reasons.             But        it    may not,               must         not,

           I don't           think         that's       what       statute              or       case      law says.

  1        So I think              it's       going       to     be a balancing                           --     and        I

  1        don't          mean the          balancing            of Rule            21.            We may get

  1        there.            I'm     not      saying          that's          where           we are.             But           I

  1        see      nothing          that       says      thou         shalt        not          disclose.                  And

  1        so many some of the                         very      powerful               policy            arguments

  1        that       I've        been      hearing           from       you and              from        the

  1        District              Attorney           we need        to     be thoughtful                         about

  1        lots       of     stakeholders.                    And you and                 I both           heard            the

  1        District              Attorney           whisper         "dangerous,"                    and then                you

  1        said       "dangerous."                  And I was merely                      observing                a

  2        parallel              process        occurred            in    Washington                     DC and         the

  2        world          kept      spinning           and     referrals                were        made and DOJ

  2        processed              that      and      they're           going        to        do what            they're

  2        doing.            And clearly               they      didn't            feel          like,          well,           we

  2        better           do something               right        now because                    very         publicly

  2        the      January          6th      Commission               referred               certain            charges

                                                                                                                                     17
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 37 of 129




           against          certain               people.              So,           if     an argument               you're

           making,          the        District                Attorney's                   Office          is     making

           whomever             the      person            is.         But           that         your      office          is

           making          is     look        it     may be post                      indictment.                    It     makes

           all       the    sense            in     the        world           to     disclose              the      report.

           But     before          then            you're           hamstringing                      an

           investigation.                         Maybe putting                           inordinate              pressure

           on someone.                   I get            these        things,                  but      that      doesn't

           seem       to    have         caused            the       wheels                to     fall      off      the     DOJ

 1         bus.

 1                               MR. WAKEFORD: Well,                                       we don't              know,      your

 1         Honor.           We don't                know because                      the         DOJ operates               in

 1         such       complete               secrecy             and      their             grand          jury

 1         proceedings                 are         subject           to        much more                 powerful

 1         secretive             requirements.                         So we don't                       quite       know the

 1         answer          to    that         question.                   Additionally,                         Congress's

 1        proceedings                  happened                in    public.                    They       were

 1         nationally              televised.                       They        had         witnesses              come and

 1         testify          to     the        entire             nation.                   And then              so when

 2         they       made recommendations                                it        was based               on

 2         information                 that         they         were          publicly               releasing.

 2         Sometimes             live         and         in     living              color.

 2                               THE COURT:                      Understood.                       But      if     Fred

 2         Jones       was testifying                          up there               and         Fred      Jones          came

 2         down here             --I      mean,            that's              the         only       point        I'm
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 38 of 129




           making.            Is     that         some of          this          --    well,          we don't

           know what            happened              in    the      grand        jury         insofar           as

           there's          overlap.               Maybe people                  do and         things                  we

           don't       need        to     get      into      that.              You've         shared          with        me

           your      prospective                 on how--            I understand                 it.          How

           January           6th     Commission              was different                     and      the      fact

           that      they       very        publicly           referred               certain           charges

           against           certain         people          to      the        Department              of Justice

           is     sufficiently                  different            that        you don't              think         that

 1         there       should            be a parallel                drawn           with      the        concerns

 1         here.

 1                             MR. WAKEFORD: I would                              also         add,        your

 1         Honor,       that         while         by the          necessity             of     the        laws

 1         governing              serving          subpoenas               in    different              states

 1         some of          the      witnesses              have      been        made public.                       But

 1         the      public         does         not    know who the,witnesses                               were        for

 1         the      special          purpose           grand         jury.

 1                              THE COURT:                  That      wasn't           my point.                 I

 1         agree.           That         wasn't        my point             at    all.          We heard              75.

 2        We heard            a number             but      not      names.            I was merely

 2         observing              that      the       public         actually            does         know a fair

 2         number,          and      some of those                   names        overlapped                with        the

 2         very      public          presentations                   to     or    refusal             to      share

 2         thoughts           and        ideas        and    testimony                with      the        January

 2         6th      Commission.                  We can move pass                      that.
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 39 of 129




                                       Talk        to      me about             court        record               and Rule

          21.        Why is               this          not              you may have                  already

          answered                it      because               you were            analogizing                    it,        I

          think,            aptly             to    it's          an investigative                          report.                And

           if     a detective                      wrote          a final           report           saying              I

           recommend                   this        person            be prosecuted                   for          this

          homicide,                    that        is      not       something             that        the         public              has

           traditionally                       enjoyed               right         of access               unless             and

          until          it's           part        of discovery                    or     it's        introduced                      as

 1         an exhibit                   at      trial.

 1                                     MR. WAKEFORD: I think                                 that           is     exactly

 1        how to            conceptualize                         the      report          at      this           time,           your

 1        Honor.                I also             want         to    highlight              a point               that           you

 1         sort       of        alluded             to         a couple            of minutes                ago,            which

 1         is     that          the       time           for      this       conversation                    really

 1         should           be after                the         District            Attorney                --     what           to       do

 1        with        the         report.                  What is           the     nature            of         the        public

 1         or      secret              nature            of the          report          should             come after

 1         the      District                  Attorney               has     had     an opportunity                           to

 2         state         I am not                  pursuing              charges           or       I am pursuing

 2         charges              or      even        I have              sought       charges                and      here          is

 2         the      indictment                     that         has      been       true          billed.                At that

 2        point,            the         relative                 stance,           the     status            of         everyone

 2         involved               will         be much clearer,                          and       we will               have          a

 2        much better                     road          map for            how to          handle                secrecy           or
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 40 of 129




          publication.                        So,     I actually             think           that         this           entire

          conversation                      would         be better          handled              after            that

          decision              is      made,         which         the     District              Attorney                began

          by stating                  that        when she           has     made assurances                             as to

          time       frame            she      has        held      up or      exceeded                 those

          assurances.                       But      I will         also     want           to    point            to

          another              thing.             The statute               regarding                  court         records

           is      very        specific              in    that      ongoing             criminal

           investigations                      are        not     subject           to      public            scrutiny.

 1        There           is    no presumption                      of public               access            to     those.

 1        This       we think                 commonsensically                      falls         within             those.

 1                                THE COURT:                     When you           say      the        statute,

 1         you're          not        referring              to     Rule      21?

 1                                MR. WAKEFORD: I mean,                                  Rule          21.          In re:

 1         Gwinnett             County            Grand          Jury,      which           is     cited,            I

 1        believe,              by intervenors'                      in     their           submission

 1         actually              clarifies                that      with      regard             to     the         kinds           of

 1         civil          investigations                     which         regular           grand            jury's           are

 1         empowered              to        pursue,          and which              they         can      produce

 2         reports             or presentments                      as     a result              of,         in which

 2         the      statute             says         specifically              15-12-80                 applies               to.

 2         They       say        that         the     term        court       records              as        used        in

 2         USCR 21 encompasses                             only      the      presentments                     made by

 2         the      grand            jury      in     open        court       at     the         conclusions                   of

 2         the      grand            jury's          investigation.                      There          is     a
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 41 of 129




           longstanding                  requirement                    for        which           documents                  must

          be presented                   in     open          court,           including                  special

          presentments                   and         indictments.                       Here,           the       report

          under        15-12-71                had      to      be presented                       in     open          court

           and     actually              already              had been.                  That           is     not        a

           requirement                  under          15-12-100               or       101.            The only

           requirement                  for     the          final          report            is    that          it      go to

           you as         the      supervising                    judge,             and       then          in        this      case

          go to       the        jury          District               Attorney               as     recipient                  of

 1        either          a recommendation                            for      charges              or       no

 1        recommendation                       for      charges.                   So,       there           is        no open

 1        court       requirement                      for      special              purpose              grand           jury

 1        reports.               It's         just          not       there.             And the               Gwinnett

 1        County          case      points              to      the         fact        that        the

 1        presentments--                      it's          not      that          they're              presentments,

 1        it's       that        they're              made in               open        court           that       makes

 1        them       a court             record.               You couple                    that        with           the

 1        presumption               that             documents               attached               to       an ongoing

 1        criminal           investigation                        are        not        subject              to    a

 2        presumption               of public                   scrutiny                or     access.                  And I

 2        think       it's        clear              that      the       report              in     this          case         is

 2        not      a court          record              as     contemplated                        by Rule              21.         I

 2        think       it's        another               indication                   that          discretion                  and

 2        the      wise      choice             at      this         time          is    --        cannot          be that

 2        it's      released              at         this      time.               And everything                         about
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 42 of 129




           the      nature         of    this          report          indicates                  that       it      is

           premature             to     make the             report           public              at      this       time.

           That        I think          is    the       strongest                 stance           I will            take

           before         your        Honor        today.

                                 THE COURT:                  Okay.            Let     me throw                    a little

           bit      of    a wrinkle             at      you.           What would                  prevent               a

           special            purpose         grand          juror         from           reaching                out        to

           the      media        saying         I'll         tell        you what's                    in    the         report

           other         than      me telling                them?            But     what             would         be the

 1         basis         for     me telling              them          because             it's           not

 1         deliberation.                     So we can              step       back          from

 1         presentments                 and Rule             21 and           all         these           things.

 1         It's        not      deliberations.                      Maybe it's                    investigative.

 1         It     is     investigative.                      Maybe it's                   disclosable,                       maybe

 1         it's        not.        Maybe it's                disclosable                   after            the

 1         investigation                 is     done.            That's             the      reason               rule

 1         you're         proposing.                   But      now I'm             special               purpose

 1         grand         jury      member          McBurney              and        I disagree                   with         that

 1         approach.               I'm       not       going        to     tell           you our

 2         deliberation.                     I'm       going        to     tell           you how we came up

 2         with        what      we came up with;                        why we did.                        I'm      going

 2        .to     tell         you what         several             witnesses                said           because               I

 2         didn't         like        what      they         said        or       I really                liked          what

 2         they        said.          Because           their          testimony                  isn't           protected

 2         in     any way.              Why could               that       not       happen,                or     on what
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 43 of 129




          basis         could         I forbid            it          from              happening                  so that

           there        could         be contempt                     if          it      did       happen?

                                 MR. WAKEFORD: Because                                             the      report              is         the

          necessary               result          of    the       deliberations                               of        the          grand

           jury.

                                  THE COURT:                   So is                   a jury            verdict.                    So is

           an indictment.                     So is            a general                        presentment                     or         a

           special           presentment.                      It's               the        synthesis                  of.            It's

           the     end product                of.         But              it's           not       the

 1         deliberations.                     And that's                          where            if     we end where                          we

 1        began         our       part       of     the        conversation                              that's           what

 1        Olsen         is      all      about.           It's               just            the         deliberation.

 1        You can't               be in       there.                  I can't                   be in         there             while

 1         they're           deliberating.                      What goes                          into          it,      witness

 1         testimony.                 You actually                         could             have         had          five

 1         assistant              district             attorneys                        in      there         even             if      only

 1         one     of    them         was asking                a question.                               No harm,                   no

 1         foul.         Once         they're           done               --          again,            why is           it         not

 1         something              that       is     disclosable?                                And if             they         can

 2         disclose             it,      why wouldn't                        it         then        just           generally                    be

 2         disclosable.                    And that's                      sort           of       the      end         of      the

 2         curve        ball.

 2                                MR. WAKEFORD: Right.

 2                                THE COURT:                   You either                          hit      it         or miss                 it.

 2                                MR. WAKEFORD: All                                     of      the       results                   that
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 44 of 129




           you've          mentioned                  like       an indictment                      or     verdict,

           there        is       a requirement                     under         the         law        that       those           be

           made public                   which           we're         sort      of          --we're             going

           around          in      circles.                   There       is     no requirement                        that

           the      special              purpose              grand       jury             be made public.

           There        is       not         a requirement.                      And again,                    we're       going

           to     come --               we're         going        to     see         that        the      intervenors'

           will      likely              come from               the      angle             there's            nothing

           that      says          it        has      to      be secret.                    Well,        we're         saying

 1         there's           nothing                that       requires               it     to     be public.

 1         It's      its         own document.                        And your               Honor         could         forbid

 1         them      from          speaking                about        its      contents                because           right

 1         now it          hasn't             been         published             in         open        court.           It's

 1         not     in      the      possession                   of     anyone              in    the      state         of

 1         Georgia           or         in    the        United         States              of    America           other

 1         than      briefly                 your        Honor        and      the          District             Attorney,

 1        who is           engaging                 in     an on going                 criminal

 1         investigation.                           And so it             hasn't             been        publicized.

 1         It     hasn't          been             released.              There's                nothing          that

 2         indicates              a requirement                       that       it         be released,                 and

 2         the     only         result              of a grand                juror          talking             about        it

 2        would         be to            shed         light        on the             deliberations                    and

 2         also      in      the         bargain              interfere               with        the      ongoing

 2         criminal             investigation                      which         their            report          was meant

 2        to      be a part                  of.
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 45 of 129




                                  THE COURT:                    So what             odds        do you give                an

           appeal          of     an order               that         I would            enter        forbidding

           them       from        talking              about          the     contents            of       the       final

           report?              It     gets          appealed.                Restrain            of       speech,

           first       amendment                    violation           and         special           purpose             grand

           juror       X just               sends        the     Supreme             Court        or       Court          of

          Appeals            (Olsen).                  So how's              that        going        to    play          out?

           I appreciate                     I could           do things              to    help         maintain                the

           investigation                     and       not      get     it      prematurely                 derailed

 1        by things               that         it      ought          not     to     have        to     deal        with

 1        until        the        time         is      right,          and      that's           a decision                that

 1         the      District             Attorney               and her             team       would        make as to

 1        when the              time         is      right.            That's            an important

 1        interest              to     uphold.                You've          got        my full           support             of

 1        that        interest.                   But,        I don't           know.          I need          to     think

 1        through            how that                plays       out.          And if            we have            a grand

 1        juror        who says                that's           fascinating,                   you're          not        going

 1        to       release            the      report,           but         I'm     going        to       talk.           I

 1        muzzle           you.             I suspect            there'd             be an appeal.                        I'm

 2        not       interested                entering             an order               that        we know is

 2        DOA (dead               on appeal).

 2                                MR. WAKEFORD: So,                                (1)    your        Honor,

 2        respectfully.                       One thing                I refuse            to     do is            ever

 2        handicaps               odds        of what            the        court         of     appeals            will

 2        and       will        not      do.

                                                                                                                                      40
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 46 of 129




                              THE COURT:                We do that                 all        the         time,       and

          we're       always         wrong.

                              MR. WAKEFORD: You're                               right,             your       Honor.

          What I'm          saying        is     that        the     --        can       I actually

          confer       with      the      District            Attorney               for           one      second?

                              THE COURT: Sure.                      Please.                And you're

          almost       done.

                              (Pause       in      record           for        counsel              to      confer.)

                              (Record          resumed.)

 1                            MR. WAKEFORD: So,                           there's             two things                I

 1        wanted       to     highlight.                And I appreciate                            you letting

 1        me confer           with      Madam District                     Attorney.

 1                            THE COURT:                Not a problem.

 1                            MR. WAKEFORD: The first                                    is        that      our

 1        position          should        not     be understood                      to       be a blanket

 1        opposition            to     release          of    the         report           forever            and

 1        until       the     end of       time.

 1                            THE COURT:                I have            not,       not       heard           that

 1        once.        I have         heard,         I think,              a reasoned                     approach

 2        of not       now and here's                   why.         Likely              later            and here's

 2        why.       I haven't          heard        forever,              bottle             it      up.         So,

 2        that's       not     my take           away from            what           you've               been

 2         saying.

 2                            MR. WAKEFORD: But                           to     your         question             what

 2        will       a future          appellate             court         do?           I think             that's

                                                                                                                            41
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 47 of 129




           an extremely                 relevant               fact         is       that       this            is         not

           opposition             that         is       intended                to    go to           March                to        the

           end     of     time         and prevent                  public            disclosure                      of what's

           in     this        report          forever.                   That's           not       the         position.

           It     is     simply         saying           that            now is           not       the         time,                and

           that        your      Honor         has       the        power            to      pursue             that.

                                 THE COURT:                    It's         like          a temporary

           sealing.              We're         going           to        seal        this       to     include                       seal

           the     mouths         of      some the              people               until          --and             that             may

 1        put      some additional                       pressure                 onto         reach            a finish

 1         line        sooner,          but      it's          not        the        same pressure                              that

 1        what's          actually             in       the     report.                   And if           it         says

 1         certain            things          that       complicates                      and       maybe

 1        compromises                  a more           thoughtful                   approach              to         charging

 1        decisions.

 1                               MR. WAKEFORD: I think                                       that      there                    is     a

 1        clear          time     to     have           this        conversation                     when we have                            a

 1        much better                  idea      of how to                 proceed,                 and         it         is        after

 1        the      District             Attorney               has        announced                 either             we will

 2        not      be pursuing                 charges              or we will                  or         --and                 here

 2        they         are.       That         I think              is     really              what        I'm             saying.

 2        But      additionally,                     there          are         other          constitutional

 2        rights          that     are         impacted.                   And those                 are             the         rights

 2        of      anyone         who is          possibly                 named           in    the        report.

 2                               THE COURT:                    So I'm             going         to     ask            the            media
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 48 of 129




           intervenors'                     about          that.             But       I guess                 we can          end

          with       that.                So let's             say       that          your           special               purpose

          grand        juror             X says,            you know what,                            Oscar           the      Grouch

           should       be indicted.                           And we talked                          about           it.          And

          my gosh,             Oscar              the      Grouch            should              be indicted                      for

           treason--                if      that's          a state                 crime--              for        inciting               a

           riot      based           on what               happened                 here         in      Georgia.

          What's        Oscar               the      Grouch             --who's             he suing?                       What

           constitutional                         rights           is    he going                  to      be invoking                     to

 1         say,      wait           a minute,               I can't                 believe              someone             said

 1        that.         And of               course            the       someone                 isn't          the         District

 1        Attorney.                  It's          not      you.             It's          either              in     the      report

 1        because            it's          published                or       it's          coming              from         someone

 1        who is        not          bound           by any             oath         of     secrecy                 to      not         talk

 1        about        witness               testimony                  or     the         final           decision                of

 1        the      special               purpose            grand            jury.               Because             the       DA

 1        brought            this          up as well.                       I get          it        in    part,            but         I'm

 1        --      crystalize                 it      for      me.            So what              does          Oscar          the

 1        Grouch        do?              He hires             a lawyer                and         that          lawyer             has

 2        conference                 --      a press               conference                    to      say        we're

 2        outraged.                  We'll           prove          our        innocence                   even          though            we

 2        don't        have          to      prove          anything                 because               we're            innocent

 2        until        proven              guilty.

 2                              MR. WAKEFORD: Well,                                        we know that                      the

 2        cases        exist             which          your        Honor            actually               refer            to      in
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 49 of 129




          your       order       where            there      were       discussions                     of public

          officials             seeking            expungement                   of    statements                made by

          grand       jury's           that        were      different                 in      color           than        a

           special         presentment                 or    an indictment.                            So,      I guess

          the      simplest            answer          to    this       question                 is     I'm      not

           totally          sure,       but        we can          avoid          that         question

          entirely            by not          publicizing               the           report           until          after

          the      District            Attorney             has      made --

                                THE COURT:                  Why tangle                 with       it      if     you

 1        don't       have       to.

 1                              MR. WAKEFORD: Exactly.                                      There's             just           no

 1         reason         when the            report          is     sure         to     be eventually

 1        disclosed             because            the      District              Attorney              is      not

 1        going       to      forever             oppose       it.          There           is    no reason                    to

 1         contemplate               the      release          until             there         has      been          a

 1        public          decision            made by the               District                 Attorney                 of

 1        the      three        options            I have          mentioned                many times.

 1        We're       not       pursuing             anything.                   We plan          to      pursue

 1         something            or     we have            pursued           it        and      here       is     a bill

 2        of      indictment.                 At that          point             we have          a much better

 2         idea      of    --    we don't              have        to   worry            about          statements

 2        made about             individuals                 because              they         will       either               not

 2        be any          and    we have             a better           idea           of what            to     do or

 2         there      are       and        they      are      contained                in      a bill           of

 2         indictment.

                                                                                                                                     44
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 50 of 129




                                THE COURT:                        Right.               If      Oscar             gets

           indicted            and      it's              released             and       it         says         Oscar                 should

          have       been       indicted,                      sort     of        I told             you so.                      And if

          Oscar's           not        indicted                 and         the     report                said         he should

          be then           someone                 could         choose            to        explain                 from             the

          District             Attorney's                      Office         why Oscar                    the         Grouch

          wasn't          indicted,                  but        there          isn't           that          cloud                hanging

          over       Oscar's            head              in    the         interim.

                                MR. WAKEFORD: That's                                     precisely                     right,

 1        your       Honor.

 1                              THE COURT: I'm                          not        sure             that         it

 1        necessarily                  invokes                 constitutional                        rights,                     but         I

 1        get     the       policy             concern.

 1                              MR. WAKEFORD: Well,                                      it         also         marches                     in

 1        lock       step       with           the         concerns               about             an ongoing

 1        criminal             investigation.                           It's           sidesteps                      all         of

 1        those        problems.                     It        also     solves                the      issue                of        is

 1        this       a general                or          is    this         a special                 or        is         it                   it

 1        sort       of     everything                     becomes            clearer                at      a later                    date.

 2        And we can              come back                     and     discuss                in      the            clear             light

 2        of     day      as    opposed               to        a lot         of me standing                                here           and

 2        going        well       it         could             be this            or     it         could         be that                        and

 2        you agreeing                  it      could            be that               or      this.              And I think

 2        the     main         point           is     today            is     not        the         time.                  Now is

 2        not     the       time.             But          eventually,                   we will                 have             a
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 51 of 129




          better           idea          of when the                  time         will        be.         And the

           District              Attorney's                Office             is    not        opposed            to     the

          eventual               release.                 It's        opposed             to     it       right         now,

          and      it's          opposed             to     releasing               it        without            very

           careful              consideration                    in     light            of    all        the     other

           factors              that         are     in play.                 I just           ask        your         Honor

          once          again          to     consider            the         contents                of what           the

          actual           report             ends        up being.                 Because               the     law has

           set     up a situation                         where         it      could          be little                of

 1        this,           a little              of    that        or         something                completely

 1        different.                     And I think                  that's          part           of    the         reason

 1        why we're                here         to    sort        of get            an idea               of what            are

 1        we even            dealing               with.          And I would                    ask       again         if

 1        there           are      further            points            of     law,           points         of policy

 1        or      any      other             position            that         the        District            Attorney

 1        should           illuminate,                    that        you will                allow        us a chance

 1        to      dig      in      on that            and provide                   a written                   submission.

 1        And otherwise,                        I remain              available                to      answer           any

 1        other           questions.                  Thank           you.

 2                                 THE COURT: Okay.                            Thank           you        so much.

 2        Appreciate                   it.

 2                                 So,        Mr.     Clyde,            you're            client's               are     going

 2        to      get      the         report         eventually;                   can        we go home?

 2                                MR. CLYDE:                     No,         your     Honor.               Obviously,

 2        we believe                   the      report           should            be released                   now and           in

                                                                                                                                        4n
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 52 of 129




           its     entirety.                    And that              approach             is     consistent                   with

           the     way the             american                judicial          system             operates.                   In

          other        words,             it      is     not      unusual            for         a District

          Attorney                or a prosecuting                        authority               to    be generally

          uncomfortable                     with         having           to    release             information

          during            the     progress               of     a case.              That         occurs           all        the

          time.             But     the         judicial              system         time         and        time        again

          has      said        when matters                     are      brought            to      the       court

           system           we are             going       to     be --         require             them       to        be

 1        made public                  because             the        faith      of        the      public           and        the

 1        court        system             is      much improved                  by operating                       in     a

 1        public            way.         And so it's                    only     in        the     most

 1        extraordinary                        situations              where         our         appellate               courts

 1        and     where            United             States       Supreme             Court           has     allowed

 1        the      sealing             of       records           or     and     including,                   as     you

 1        articulated,                    the       outcome             of     grand        jury        activity.

 1        We acknowledge                        the     operations               of        the      grand           jury

 1        while        it      was ongoing                    were        subject           to      a veil           of

 1        secrecy.                 But      that,         as      the        Court       has        explained,

 2        that      has        come to              an end,             and     they        have        issued             a

 2        final        report,              and        that       final         report            is    the         outcome

 2        of     the        judicial              process,              not     an executive                   branch,

 2        criminal             investigation.                          They      invoked               the     judicial

 2        process            of     the         special          purpose             grand          jury       statutes

 2        and     now that's                    special          purpose             grand          jury       has

                                                                                                                                      47
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 53 of 129




          issued          a report                 and the               jurors             themselves              have

          asked          for      it     to     be published.                               There's          enormous

          public          interest                 in what               they          have        said,        and that

          exist          in     this       state.                  It         exist         the     across          nation.

           It    exist          beyond             the        nation.                  And we believe                   the

           statutory              law supports                          its      public            release          right

          now.         We believe                   the        case            law        supports           its       public

          release              right       now.               And we believe                        constitutional

          law,        including               our         own state                    constitution,                   requires

 1        its       release             right        now.

 1                                THE COURT:                       So why isn't                     this        one         of

 1        those        extraordinary                          circumstances                        where        disclosure

 1        wouldn't              be the             standard?                     I appreciate                   that         you're

 1        characterizing                      it     as a judicial                            proceeding.

 1        Because,              of course,                    a judge             had         to    be appointed                    to

 1         supervise              and ultimately                              received             the      report.                But

 1         I don't             think       Mr. Wakeford                          was misdescribing                           it     all

 1        that       much.              He didn't                  use         the        word       ''conduit,"                  but

 1        it     basically               was here,                  Judge,                here's         our       report

 2        that       we prepared                    ultimately                       at     the     request            of         the

 2         District             Attorney                 to    answer                 the     questions             that           the

 2         District             Attorney             had,               not      the        Court        had.          The

 2        Court        didn't            sua        sponte--                   could          have--         but       it

 2        didn't,              to be clear                    in        this          case.         We want            to         know

 2        more        about            what        went        on with                 the        general          election

                                                                                                                                          48
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 54 of 129




          in      2020.          That      was something                            that          the      District

          Attorney           asked         for.             Had to             pull          some levers                     to    do

          that,       judicial             levers.                But          it      was executive                         branch

          saying          we want          to         investigate                    this.                The mechanism

          by which           we investigate                       it        is       a grand               jury,           okay.

          That      means         the      courts              have         to       be procedurally,                             not

          substantively,                   but         procedurally                        involved.                    And then

          we get          our     report.               We, the                District                   Attorney's

          Office,          so we can                  figure           out       what          we're             going        to         do

 1        next.           How is          that         --      that's            how things                      flowed.

 1        And it          did     pass       through              a court                  proceeding                   because

 1        I had       to     swear         the         jurors           in       and         what          not.          But        it

 1        wasn't          a trial.               It     wasn't              a hearing.                       I didn't

 1        issue       any        ruling.               So I'm           pulling                it         out      of    that

 1        framework.                I'm      wondering                  how you                say         no,       no,      no,

 1        it      needs      to     stay         in,        in    that              framework.                     Or at

 1        least       why is         it      not        one       of        these            extraordinary

 1        uncommon           situations                 where           it's           really              not       a court

 1        record          that      came out.                    I haven't                   filed           it.         There's

 2        nothing          that      says         I need               to      file          it,         which          is

 2        usually          --     when you are                    invoking                   --      I asked             you a

 2        bunch       of     questions.                     So you'll                  get          to     answer.                Rule

 2        21 kicks           in     usually             because                there's               something                in

 2        the      docket         that       your           clients              can't              get      their           hands

 2        on.       There's          nothing                in    the          docket               and      there's              not

                                                                                                                                              49
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 55 of 129




           going         to        be anything                  in    the       docket           unless               I decided

           that         something               needs           to    be published,                        and        it

          probably                 will      be published                     by putting                   it        in     the

           docket.                 There        is      no requirement                      it        go in           the

           docket.                 So there             isn't         even          a court            filing               that

          we're          talking             about.

                                    MR. CLYDE: Okay.                            Your        Honor               --

                                    THE COURT:                   I'm         done.

                                    MR. CLYDE:                   I see          that        as        three           questions

 1        and       I'm       going          to       answer          them          in    order.                 Number            (1)

 1         I understand                    your         analogy              that        this         is      a conduit

 1        situation                 and      I'm        going         to      speak         to        that.                And then

 1        I'm      going            to     speak         to      why there's                    really               no

 1        circumstances.                          There's             none          of    the         extraordinary

 1        circumstances                      that        would          justify             sealing,                  and why

 1        in      the     end         this         is    a Rule              21 document.                        And so let

 1        me start             first            with       this         is      a judicial                    process.                I

 1        understand                 your         Honor's             point          that        it        was requested

 1        by the          grand            jury.           But        it's          actually               an

 2        extraordinary                      judicial                process.               In other                  words,

 2        that       request               is     made to             this          court        and          this          court's

 2        --      this        --     not        just       Judge             Robert         McBurney's

 2        courtroom,                 but        the      Superior               Court           of     Fulton

 2        County's             power            is      invoked.                Grand           jurors               are

 2        required             to         come to          this         courthouse.                        Those            --     and

                                                                                                                                          so
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 56 of 129




          that       can't            happen             until         a majority                of        the         Superior

          Court           judges           agree          that         this         is    a worthy                thing            to

          undertake.                     So,      it's           actually               an extraordinary

          exercise               of      judicial               power.              And so I don't                       think

          it     can       be characterized                            as        just     a we helped                    out        the

          executive                branch.                It      is     fully           invoking                the

          judicial            branch's                   power         and        requiring                jurors             to

          come and               devote           their           time        and        their        energy             to

          carry        out         a purpose                for        this         court        system.                 And

 1        that       is     the          kind      of environment                         where            the      case           law

 1        says       that's              judicial.

 1                                 So the          next           question               you asked                is,      all

 1        right,           isn't           this      one          of     those           extraordinary

 1        circumstances.                          And respectfully,                           I don't               think           the

 1        State        has         made any               showing             of        any   substance                  that

 1        this      is      --        that's         one          of    those            extraordinary

 1        circumstances,                       and        let      me explain                 that.               I respect

 1        the      District                Attorney's                  statement              about           the

 1        protection                  of    other          people,                and     that        is      an admiral

 2        statement                for      a - for               any       District             Attorney                to

 2        make.           But         other        people,              particularly                    the        other

 2        people          that         were        involved                 in     this       grand           jury         are

 2        represented                  by their                 own counsel.                     This         hearing

 2        took      place,             was widely                  published.                    Their            counsel

 2        aren't          here.             The risk               of prejudice                   to        them         is
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 57 of 129




          actually            much less                 than         it         is    with         many many

          documents                that        are      disclosed                    during          the       judicial

          process.                 Indictments                 get         entered             as       the        Court          is

          very      well           --     indictments                     get        entered            by the            State

          or by the                federal           government                      with      a great               deal         of

          detail.             Sometimes                 press             conferences                   that         drive

          defense          counsel               crazy.             But          there's             never           been         any

          suggestion,                   and      there         couldn't                 be that               that        process

          should         be closed.                     Hearings                 take        place            about         the

 1        exclusion            of         evidence             or     the            exclusion                of

 1        witnesses.                    All      those        hearings                  take        place            publicly.

 1        The documents                       related          to     them            have         to     be disclosed

 1        as     court        records.                  Those         are            much more                --much

 1        closer         in    time            to    a trial,               so there's                    a much

 1        greater          risk           involved             in     those             documents.                    Here

 1        we're       --      if        we're        talking               about            risk        to     potential

 1        defendants                facing           a trial               years            into        the        future

 1        that      this       document                 is    reeling,                  doesn't              rise         to     the

 1        level       of      the         routine            kind          of        documents               that         are

 2        disclosed            publicly                 during             the        judicial               process.                  So

 2        I don't          think           there's            a compelling                         case        for

 2        protecting                other           people's               rights.

 2                             The Court                 asked             about,            well,           who does

 2        somebody            sue?         The Court's                     exactly             right;              they         can't

 2        sue      anybody.                Long ago,                the          United            States            Supreme
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 58 of 129




           Court      in        1976,         in    Paul         vs.        Davis            said      no.

           Government             institutions                    are         going           to     make

           statements             that         have        negative                impact            on people's

           reputation.                  That        alone         will           not         ever      create         a

           cause      of     action.                You have                to     show something                     called

           stigma         plus.          It        has     to     be a deprivation                            of    other

           kind      of    rights.                 Simply         reputational                       interest

          aren't          enough.              So what            the         State           is     pointing             to    is

          simply          not     the      kind          of      information                   that       justifies

 1        sealing.               And there               hasn't             been        any         suggestion,                any

 1        evidence,              any presentation                           that        really          makes         a

 1        compelling              demonstration                        that        there            should         be a

 1        sealing          in     this         case.             Ongoing            investigation

 1        --investigations                         obviously                when people                 are        indicted

 1        they      don't         necessarily                    close.             They            continue

 1        throughout              a case.                And so ongoing                        investigations

 1        frequently              continue               after          there           is     significant

 1        disclosures               of     information                      about        an investigation.

 1        That's          exactly          what          would          occur           here.           As the            Court

 2        has      pointed          out,           the    House             of Representatives

 2        January          6th      committee                 also        has       disclosed                enormous

 2        amounts          of     information.                       There's             really          no precise

 2        showing          that         can        support            the        kind         of     sealing         that

 2        they're          asking          for.

 2                              And finally,                    the       Court          asked,          all        right,
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 59 of 129




          Rule       21.          Really,          why is             this          triggering                 Rule         21;

          it's       not     filed.               And your             Honor,             it        is      filed       for

          purposes           of Rule              21.          Let     me explain                    what        that         is

           for     purposes             of Rule            21.         The question                       is     not

          whether          it's         submitted                to    the         clerk.                The question

          is     whether           it    is       submitted              to        a judicial                  officer

          that       needs         to    take           action         on it.                  And that's               what

          triggers           Rule        21.            The --         I will             give           you a case

          cite       to    that.

 1                                THE COURT:                   Please.

 1                            MR. CLYDE:                       And we're                happy            to    provide

 1        more      authority               on this             issue.               This           is    --    I'm         going

 1        to     give      you Forsyth                   vs.      Hale.              It        is    at       166 Ga.

 1        App.      340.           I'm      quoting             a part             of     it        here.           "A paper

 1        is     said      to be filed                   when it             is      delivered                 to     the

 1        proper          officer           and by him received                                 to       be kept         on

 1        file."           In this               case     that         special               report            was by law

 1        submitted           to        you as the                supervising                       judge.            Based

 1        on that,           immediately                  you had                 responsibilities.                            You

 2        had      to provide               it     to     other          judges              and         everybody             to

 2        reach         a decision                about         whether              this           grand       jury

 2        could         be dissolved.                     There          were           decisions               that         had

 2        to be made.                   The power               of this              Court           was invoked.

 2        The decisions                  by you as the                       supervising                      judge      had

 2        to be made.                   And so overall                       it      falls           exactly            within
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 60 of 129




           the     category         of Rule               21.          Now, I acknowledge                          that

           there     is     a secrecy                with         respect--             that         the         Gwinnett

           County       grand       jury            decision             recognize             there's             a

           line.        That       Court            --    the       records           that          the     grand

           jury     looked         at     during            its        ongoing          process             are        not

           accessible             as court               records.               Because             historically

           they     haven't         been.                But      then         the    Gwinnett              County

           Supreme        Court          or     the.Court                of Appeals                 in     the

          Gwinnett          --     the        Supreme             Court         in    the      Gwinnett

 1        County        decision              emphasized                 the     --     in     that         case        that

 1        general         presentment                    had      to     be made public                     because

 1        it      was the         outcome            of this            process.               And so it                was

 1        subject         to      Rule        21,        and essentially                      the        same

 1        process         would          apply           here.

 1                             THE COURT:                   Was that             grand         jury         a special

 1        purpose         grand          jury        or a regular                    grand      jury?

 1        Because         regular             grand         jury's          can       do general

 1        presentments              as well.                   They're           empowered                 to

 1        investigate              the        Clerk's             office.             They      could

 2        they're         not      going         to       indict          the        Clerk,          but        they

 2        could      say,        hey,         we noticed                that         they      use         too     much

 2        paper      in     the     copy         machines               and we should                     be more

 2        environmentally                     conscious.

 2                             MR. CLYDE: Exactly.

 2                             THE COURT:                  Sq if          the        case      you're
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 61 of 129




          referring                to     --    there            are        lots          of     Gwinnett                cases.

          So I'm           not         necessarily                seizing                 upon         the        same one.

          Was that              a special             purpose                 grand            jury          in    which             the

          Supreme              Court       said       that             --     I know they                     use        the         term

          general              presentment,                 and we'll                     talk         about            report

          versus           presentment.                     But,            setting              that         aside            they

          were          saying          that      special               purpose                grand          jury's,

          general              presentment                 must         be made public                            because             it

          is      effectively                  a filing.

 1                                MR. CLYDE:                     Correct.                  And it             was a

 1        general              presentment                 from         a grand                jury,          and        in      a

 1        civil          context.               And I'm             talking                about             2008        In re:

 1        Gwinnett              County          grand            jury         case.              Justice                Benham

 1        held          that       that        document            was subject                        to      Rule         21.

 1        And we would                    submit           the      same           thing          would            be --with

 1        the      same         conclusion                would             be reached                  with            respect

 1        to      the      final          report.

 1                                Your         Honor        has,            and      I         understand                 the

 1        questions               relating            to         15-12-80,                 and we're                eager             to

 2        address              that.           But    one         of        the      things             I want            to

 2        emphasize,                   I think,            from         the        Court's              questions,                    you

 2        fully          understand               this,           but         those            are      two

 2        independent                   basis        for     the            disclosure                  of        the      report.

 2                                THE COURT:                 No,            they          are.          And I pressed

 2        Mr.      Wakeford               on them           because                it's          sort         of    mounting
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 62 of 129




          pressure,              if     you will.                      The grand              jury           itself         said

          you need            to publish                  it.           And if           one        travels            to

           15-12-80                    actually,                it's         a "shall."                   There        aren't

          a lot       of      statutes               that         say        the      Court             "shall.''               And

           I've      learned            what         that        means.               If      it        applies,            if       80

          applies.               But      I appreciate                       that        that           is    a separate

          basis.            If        I were         to     find         that         the          final        report              is

          effectively                  a Rule         21 filing,                    then           Rule       21.         And

          all      the      case        law that                you and Ms. Gaither                                 cited

 1        that      talk         about         the        competing                 interest,                 and      it

 1        really         is      extraordinary                         and     exceptional                    not      to

 1        disclose            something               that             would        fall           under        or within

 1        Rule       21's        gambit.              So that                would         be a second                    and

 1        compelling                reason           if     I were             to     find          the       final

 1        report         is      a Rule          21 filing.

 1                               MR. CLYDE:                     Exactly,              your          Honor.             If       I

 1        may add one                  item      to       your          desk        is                  today         we're

 1        also      going           to provide                  the      Court           with           another

 1        example           of a special                    report             that        was published.

 2        This              and        this      is       a --          I'm     going              to provide               a

 2        copy      to      you in            just        a moment.                   It      involves                the

 2        Gwinnett            County           Grand            Jury,          and       it        is     from        2009.

 2         It     was then             looking            at      land         transactions,                        and     Judge

 2        Clark       at      the       end where                 I put         that          --        may I

 2        approach?
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 63 of 129




                                   THE COURT:                    You may.

                                   MR. CLYDE:                    Where          I put          the        blue         tab     is

          where          Judge           Clark           has     ordered              this        special          purpose

          grand          jury        report              to be published                       in     the        legal

          orbit.             It      is      an example                   --    and      I would             say        that

          just         as            in      a sense             I would              think         that         the      two

          special            purpose               grand         jury          reports            that       are        before

          the      Court           are       in     a sense               examples             of     the        two ends

          of     the        spectrum.                   Obviously,                in     the        Dekalb             special

 1        purpose            grand           jury         they        recommended                   prosecutions                    of

 1        a named            individual.                       And that               was disclosed                     and

 1        published                by Judge               Adams in              the      Dekalb             situation.

 1        In the            Gwinnett               situation,                  this      is       a grand          jury

 1        that         found         a great              deal        of discomfort                       and

 1        criticized                 various              aspects              of the         land         purchasing

 1        decisions                made by Gwinnett,                            but      generally                is     not

 1        recommend                prosecution,                      is     moving           in     the      other

 1        direction.                     But       in both            cases           they        were       published

 1        in     their            entirety              at     the        direction               of the

 2        supervising                    court          judges            in both            cases.          These           are

 2        special            purpose               grand         jury's.

 2                                 THE COURT:                    So these               would         be then

 2        examples                that       it     is       possible             to     do it,            and     I

 2        assumed            it      had been                legally            challenged,                  and               and

 2        a higher                court           had     said        the       trial         judge          was in
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 64 of 129




          error       to    do that,               then        Mr. Wakeford                      would        have

           shown me those                   opinions.                 So those                 are     out      there.

          But what          about           his       argument            that           if      --    and I know

           you don't             know the             content            of the               final         report       for

           lots      of good         reasons.                  But what             about             the      argument

           that      the    contents               should           drive          the         decision          making

          process?

                                 MR. CLYDE:                  So,      your         Honor,             I'm      going      to

          address--

 1                               THE COURT:                  Did I interrupt                          you before

 1        you got          all      the--

 1                               MR. CLYDE:                  No, no,           no.             You raised

 1        another          issue          that        I'd      like       to       cover,             and      I will

 1        directly          answer           that           question.

 1                               THE COURT:                  Okay.

 1                               MR. CLYDE:                  With        respect               to     the     Dekalb

 1        special          purpose           grand           jury        --    and the                Court      may

 1        already          be aware              of this.

 1                               THE COURT:                  Full        disclosure.                        I was a

 2        brand       new judge              and all              of a sudden                   Mark Scott

 2        Defendant              was in           front       of me.               There            was a whole

 2        lawsuit          that      came out                of     Dekalb          about             not     handing

 2        over      that         report          to    the        rest        of    the          bench.          And it

 2        --      so I'm         a little             familiar            with       that.              Nothing

 2        about       publication.                     It     was news              --           I wasn't
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 65 of 129




           interested                 in       whether           it      was made public.                                 I was

           interested                 in       getting           Judge          Scott             out      of my

           courtroom.

                                    MR. CLYDE:                   And the              only         thing           I want           to

          point          out        is     Burrell              Ellis        is       ultimately                   prosecuted

           for        perjury            in      the      aftermath                of     that            special

          purpose             grand            jury       based          on his           testimony                  that         was

          presented                 at     that          special           purpose                grand           jury.           He's

          prosecuted.                      He is          --there's                a verdict.                      He was

 1        convicted                 at     trial.               And he ultimately                            on appeal

 1        parts          of     his        conviction                 are       affirmed.                    Parts           of     it

 1        are         reversed.                  But      there's            nowhere               in      that           opinion,

 1        and         that      opinion               does       recount            the           history            of

 1        special             purpose               grand        jury,          that         it      is      anyway

 1        critical              of       the        release           of     the        report             nor       did

 1        Burrell             Ellis           and        his     counsel            ever           make any

 1        argument              that          the        release           of     the      report                 somehow put

 1        him in             an impossible                      position            at     his          trial.              It     was

 1        --     it      obviously                  as    the      Court          has      pointed                 out      there

 2        hasn't             been        a decision                directly              on point                  with       the

 2        issue          that        we're            taking          on today.                    But       it      is     an

 2        example             of      somebody                 who is        prosecuted                    in      the

 2        aftermath                 of     the        release           of      a report,                  and       it     never

 2        rose         to     the        level           of an issue                worthy              of        appeal.

 2                                 Then,          your          Honor,          I'm      going             to      address

                                                                                                                                         nO
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 66 of 129




           I apologize,                I'm     having               trouble                  remembering                  --

                                THE COURT:                   It's            all        right.               Mr. Wakeford

          was making             the         argument              that            we could                --      when I was

          exploring             reports,             special                 presentment,                        general

          presentment,                 that         really              depends               on the             content             of

          the      document.                 And the              more        it        is     like          a special

          presentment,                 the     more          it         is    something                    that       is        an

          investigative                 tool         for          the        District                Attorney               as

          opposed        to      a general                 report             on here's                    the      things               we

 1        learned        and       saw and what                      not.               That         would          militate

 1        towards        not       disclosing                     now because                      it's         much more

 1        like      a detective's                    homicide                 report.                     That's          not        a

 1        court       filing.                That     doesn't                 get          filed           with       the

 1        Court.         But       that's            someone                 thinking                long          and hard

 1        about       should           the     District                  Attorney                bring             charges

 1        against        someone              for     killing                 someone.

 1                            MR. CLYDE:                    And your                    Honor,             in      terms         of

 1        suggesting             to     the         Court          that            it    has         discretion                  to

 1        make independent                     judgments                     about           what          should          be

 2        public        and      what         shouldn't                  be public,                       I do not

 2        believe        that          that     discretion                         exist         in        anything

 2        other       than       the      law        of Rule                 21 and            the         law      of

 2        essentially             expungement                      of ultra                  vires          activity.

 2        In other           words,           what      do we believe                            the        case          law

 2        supports.              We believe                 the          Court           is      within             its

                                                                                                                                              n7
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 67 of 129




           rights              to        read          the     report.               If        this           grand          jury          and

           occasionally                          that        happens                --        and        if     this         grand

           jury      has             gotten             outside          the         ambit            of        its      mandate

          and       made             statements                 that      have            nothing                to      do with

          what       its             actual             role      was,         that            is     appropriate                      for

          expungement,                           we aren't              disputing                   that.              We only

          note       that                that          by implication                         suggest            everythini

          within               the        scope          of their              mandate                they're                suppose

          to      be made public.

 1                                    The second                  part         is        does         the        Court           have

 1        the       authority                     to     seal      under             Rule           21? Absolutely,                               it

 1        does.                But,         it         has     to meet          the            Rule           21 standards.

 1        And there                   is         the     --     there          is        --     the           argument                that

 1        has       generally                     come from              the         State            today            is,       it        is

 1        uncomfortable                           this         report       being               released                 until

 1        we've           made these                     decisions.                      And I don't                     fault             the

 1        expression                      of      discomfort              or

 1                                    THE COURT:                   I fully                understand                     it.           I

 1        think           it        is     a reasonable                   concern                   to        raise.             But         if

 2        I find               that        we're             within       the            realm            of     Rule          21,         it's

 2        just       not            one         that         weighs       really                heavily                in      the

 2        scale           that            I understand                   the         analysis                  that          higher

 2        courts           have            performed.                    One doesn't                          ignore           it,         but

 2        it's       a lighter                     weight          than         the           public's                 interest

 2        and       the         general                 presumption                  that           court             filings              are


                                                                                                                                                       n?.
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 68 of 129




           to    be made public.

                               MR. CLYDE:                             And your               Honor,           I guess             we

          would        say         it's           not         just         a lighter               presumption;                      it

          doesn't            meet           the         standard.                    In other            words,                the

          discomfort                 of          the        prosecuting                   authority                in

          disclosing                 court              records              isn't           enough           to    make them

           sealed.            It          has          to    be significant                         identifiable

          evidence            that's                   going          to     cause           a problem.                   And your

          Honor,        I don't                   think             that      submission                 has        been          made.

 1                             THE COURT:                             I have          a question                   about          that

 1        standard.                  In your                 brief,           page           18,     you use              the

 1        phrase        "clear                   and        convincing                proof."                 And clear                and

 1        convincing                evidence,                       that      is      a standard                   out         there

 1        which        is     different                      from          a preponderance.                              Much more

 1        than       that.                It's          not         well-defined.                      It's         less          than

 1        a reasonable                     doubt.                   It's      actually               what          the         JQC has

 1        to     use    for         judges.                    ''Clear             and       convincing,"                      and

 1        that's        the         phrase                  you used.                 It's         a whole               lot     more

 1        than       a preponderance.                                  And I'm             wondering                if         you

 2        have       case      law               for        that       or     it      was just            a colorful

 2        phrase        trying               to         show that                  there       is     a burden                  that

 2        the      parties            seeking                  to      seal          something            has            to meet.

 2        And there            is.                But        I'm       not         familiar           with          it         being

 2        clear        and     convincing                           evidence.                 That       is        a higher

 2        burden        than          I weigh                  it      and         find       in     which          way do the

                                                                                                                                             fi'.1
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 69 of 129




           scales          lean.               Where         is    the      preponderance?                         Sealing

          and       not         sealing.               And that's                 why I was saying                     the

          District               Attorney's                  concern         about             timing        and not

          having           the         investigation                  unnecessarily                     rushed.               I

          think           that         is      a factor            that      I can           weigh.            Your

          point           was --            my point              was how heavily                      do I weigh

          it.        You said,                  oh,     it        doesn't           weigh         as much as

          public           interest.                   It     might         not,        but       there        are     other

          concerns                that         the     District             Attorney              raised.            The

 1        rights           of      folks         who may be named                         in      an unfavorable

 1        report           if      that's             how it        works.              So I envision                  the

 1        process,               the        Rule       21 process                 to    be      stacking            weights

 1        on a scale                  just       like         a jury         would           in    a civil           trial.

 1        I think            that's             a fair            way to          think         about        it.     There

 1        are      heavier               and     lighter            weights,              but      in,the           end     I

 1        need       to      decide             are     the        scales           leaning            in    the

 1        direction                of       sealing           or    in      the        direction             of having

 1        this       be an open                  record.              I think             I just            need     to     see

 1        that       it      is       leaning           in        a direction.                    I don't           think

 2        it     has       to      be leaning                 in    a particularly                      strong        way,

 2        and      clear           convincing                 is    that       it       has       to    be leaning

 2        in     a particularly                        strong         way.             So that          was a long

 2        way of           saying            where          do you get                 clear       and       convincing

 2        evidence               as      the     standard?

 2                                 MR. CLYDE:                     Your      Honor,           I believe              clear

                                                                                                                                  n4
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 70 of 129




          and      convincing              is     the     standard                    for     closing               the

          courtroom.                I would             say     the        way you've                    described

          the      sealing          of     records             is     correct               with         this         caveat.

          The items              that      you are             putting                on the            scale         have         to

          be constitutionally                           cognizable                    issues.                 So,     in

          other       words,            a general              statement                 that           people's

          reputations               might         get     hurt         has            repeatedly                 been

          identified              by our          appellate                courts             as        not      enough.

          Not     even       beginning             the         discussion.

 1                               THE COURT:               Okay.             Because                 there's               two

 1        different              things.           Not enough                    is      what           you      keep

 1        saying,          and      I'm     saying,             okay,            it's         not        enough

 1        standing           alone,         but        maybe          there's               more,             other

 1        factors.               But     then      you shifted                     towards               the        end

 1        saying       actually             that's            not      a factor                    at    all.            It

 1        would       be improper                to      put        that         on the             scale           because

 1        it's       not     constitutionally                         cognizable.                        I'm        not

 1        disagreeing              with         you.          I'm      asking               you to             educate

 1        me.        Can I put             whatever             ought            to      be deemed

 2        reasonable              factors          or there                are          cases           out     there

 2        that       say     these         kinds         of     thing        might                 be    someone's

 2        concern          but      you may not                 put        them          on that               scale          to

 2        decide       which            way the          scales            are          leaning.

 2                            MR. CLYDE:                  I would                say        it's         the        latter.

 2        In other           words,         that's            simply             --      that           kind        of
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 71 of 129




          general            articulation                  of potential                    injury          to

          reputation                 simply          doesn't            get      --    make the               scale.

                                  THE COURT:                   It's      not      a factor                to be

          considered.                    Whether           one considers                    it         lightly         or

          greatly,            it's          not      a factor.

                                  MR. CLYDE:                   And if          there        is         a detailed

           showing           about          an individual                    made by their                    counsel

          and the             --      it      was an extraordinary                               situation             --

                                  THE COURT:                   Stigma          plus.

 1                                MR. CLYDE:                   Well,          extraordinary                   typically

 1        involves            juveniles.                   Typically              involves                highly

 1        private            information.                      It     doesn't          involve             public

 1        officials               who are            involved            in     activities                 following

 1        a national                 election.                 And so that's                     the      part     where

 1        the    fit         is      just         not     very        tight.           And so that's                     --

 1        so --        but        your        Honor        also         brings         up a good point

 1        that       I would               like      to    react         to.          The only

 1        organization                   that        filed          a brief           in    advance              of this

 1        hearing            is    us.            The State             has     articulated                   their

 2        argument            today.               We will            plan      to     respond             to     that

 2        argument            with          more        detail          so the         Court            has      some of

 2        the    case         law that               has       rejected           sort           of generic

 2        concerns            about           reputation                as a basis                for      sealing.

 2        But    I do think                   that        is     well        established.                     And so

 2        what      we would                submit         is       when it           comes         to     that
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 72 of 129




          weighing             process,               and Rule                21 itself                 requires             that

          it      significantly                     outweigh              that        presumption                   of

          openness.                  That          when it           comes          to      that         weighing

          process,             I'd          let     the      weight            that         you         can     put         on the

          closure             side          are     really           not       compelling                  in     the

          situation              that's             before           us here.                And then               on our

          side       we're           talking           about            really            one      of      the      most

          compelling                 situations                for        legitimate                public

          interest             that          I can          think         of     in       this       courthouse.

 1        In other             words,              there       is       genuine            public             interest              in

 1        what       these           grand          jurors           found          after          they          sifted           the

 1        evidence.                  After          they      heard            from         all      the        witnesses

 1        and      its        interest              not      just         because            of      the        role         they

 1        played          on the             grand          jury        but      also        because              they        are

 1        community              citizens.                   And speaking                    to      these          issues

 1        from       that        vantage              point          as well.                And so that's

 1        also       important                    and part           of    the        public             interest.

 1                               THE COURT:                   What is               your          response             if     I'm

 1        the      special            purpose               grand         juror          whose           been       told          by

 2        this       judge           you can't               talk         about           your       final          report

 2        to     anyone,             it's          secret          or     at     least            I'm     telling             you

 2        can't          do it.              And they              look        in     the         online          person

 2        and      the        lawyer              Tom Clyde             pops        up.           And you get                 a

 2        call       from        the         special          purpose               grand          juror          saying,

 2        judge          is    telling              me I can't                 talk         about

                                                                                                                                         n7
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 73 of 129




           deliberations,                      but      I also          can't              talk      about          what         any

          witness             testified              about.             In particular,                        I want             to

           tell         people         about         this        special              purpose              --our          final

           report            because           the      judge          isn't          publishing                  it,      but         I

          want          to    talk       to     folks          about           it.          Can the           judge             tell

          me I can't?                    I mean,              yes,      he can,              because              he did.

          Can we challenge                       this          judge,            and what's                  our

           strategy?

                                 MR. CLYDE:                    Your         Honor,              I think           they

 1        could          challenge              that.            In other                 words,        as        the      Olsen

 1        case          makes         clear      they          are      now required                    to        take       a

 1        oath          and     that      oath          was narrowed                      by the        general

 1        assembly.                   And so they                are        bound           by that           oath.

 1        Could          this         court      in        extraordinary                     circumstances

 1        impose             what      would         be a prior                 restraint               on their

 1        speech?             Yes,       in     extraordinary                        circumstances.                        But

 1        as      the        court       knows          the      extraordinary                      circumstances

 1        to      warrant             a prior           restraint               are         typically

 1        situations,                  they're           putting               the        national            security

 2        of      the        nation       at     risk.               In other              words,           the

 2        examples              that      have        been           used       by the             United          State's

 2        Supreme             Court       are        the       location               of     warships              and      time

 2        of war,             things          like       that.              That          can      justify              a prior

 2        restraint.                   But      here,          as     long           as     that      grand             juror

 2        abided             by the       oath        they           were       required              to      take         and


                                                                                                                                           oR
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 74 of 129




          the      general                 assembly                 approved               I think              they're

          within           their            rights             speaking               about             the       experience.

          And this               is        specifically                      what          the      Supreme                  Court

          case,       USC Supreme                           Court           case      that          says          witnesses

          that      appear                 before             the      grand          jury          are         allowed              to

          speak       about                their            experience               before               the          grand         jury.

                                  THE COURT:                         I think               that         the       Olsen            case

          makes       that            clear.                  I'm      not         talking              about           witnesses,

          they're           going                to    do what               they         do.           So you               contend

 1        that      that          would               constitute                   a prior              restraint                  saying

 1        you      can't          talk            about            this.            Well,          what           about            the

 1        notion           that            the        final          report           is      really              just         an

 1        extension               of        their            deliberations?                             It's           not     a

 1        presentment.                        It's           not       the         kind       of        thing           that         grand

 1        jury's       --it            is         specifically                      what          this          grand          jury

 1        came      up with                 at        the      end,          but     it's          not          a general

 1        presentment.                        It's           not       a special                  presentment.                         So

 1        really       they            shouldn't                     talk          about          the          final          report

 1        because           it        is      just           an extension                     of        those

 2        deliberations.

 2                                MR. CLYDE: Your                             Honor           --

 2                                THE COURT: I'm                             not     really              compelled                   by

 2        that      question.

 2                                MR. CLYDE:                         It's          a step          too          far.           In

 2        other      words,                 as        the      Court          has         indicated                the         outcome
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 75 of 129




          of    grand        jury         process,                  the     outcome              of        those

          deliberations                     is     a public                document              and

          historically.                       And so that                   process              of        the

          deliberations                     and        an outcome                 gets         rendered                 to        the

          court       system             is       a significant                     and        important                  step           in

          the      process,            but         I don't                think      you         could             seal           the

          final       report           as being                part         of      their          deliberations.

          And candidly,                     I think            the         statement              by the                special

          purpose           grand           jurors           that          they      wanted                their          report

 1        published              speaks            to       that.            I don't             think             they           see

 1        it    as    an exposure                      of their             deliberations.                             They        see

 1        it    as    this        is        the        judgment             --      I read            it         as they                see

 1        it.        This        is    the         judgment                that      we've            reached,                    and

 1        that's        what          the         court        system             historically                         said        that

 1        document           becomes               public.

 1                               Your         Honor,           unless             you have                 other

 1        questions,              I will               not     take         any      further                of         your

 1        time,       but        what         we would               propose             is      that            just         as

 1        Judge       Adams did                   in    Dekalb,             that         you order                     that        the

 2        report        be       filed           with        the      Clerk's                 office,              and        I

 2        think       the        expression                  you used               was        spread              among           the

 2        minutes           of    the         Court.                And that             it      be published

 2        pursuant           to       15-12-80.

 2                               THE COURT:                    All         right.              Ms.         Gaither,

 2        anything           you want                  to    add?            Did he cover                        it?

                                                                                                                                              70
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 76 of 129




                                   MS. GATHER: No,                        your       Honor,              he did             a

          pretty           good       job.

                                   THE COURT:                    Mr.      Wakeford,                   I have            seen       the

          Post       it     notes          flying             in    your        direction,                     so why

          don't           you come on up here                             and       let         me hear             any brief

          rebuttal              you may have.

                                   MR. WAKEFORD: Brief,                                   right,             your          Honor?

                                   THE COURT:                    That's         what            the      lawyer             always

          say       and     30 minutes                   later          we're        still             hearing.                   I'm

 1        interested                in what              you've           got       to     say         in      response.

 1        And in          particular,                    touch          upon         --         I'm      not        familiar

 1        with       the        Forsyth            case,           166        Ga.    App.             340.          I'll          read

 1        it,      and      I'll          look          for    other           cases            like         it.           But     I

 1        was      intrigued               by this             notion           that            there's             case          law

 1        out      there           that        one       could          use     to        characterize                      the

 1        final       report              as     a filing.                 Certainly                   not         in      the

 1        clerk's          possession                    right          now and won't                       be anytime

 1        soon.           But       because              it    came into                  the         Court's

 1        possession                then         it's         a filing.                   And we are                    within

 2        the      realm           of Rule              21 and          not     some place                     you'd

 2        rather          be.

 2                                 MR. WAKEFORD: Right,                                   your         Honor.               And I

 2        think       opposing                 counsel             or    counsel                for      the

 2        intervenors'                    used          an interesting                     phrase              just         a

 2        moment          ago.            We progressed                    away           from         filing              in    open


                                                                                                                                         71
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 77 of 129




           court          to      just         maybe         sort            of      filing           to       render            to       the

           court          system,              which         is        now we're                 so far             from         the

           language               that         is     contained                   in     the         case          they         cited,

           In Re:          Gwinnett                 County             jury,           that          we're          no longer

           talking             about           a presentment                       made by the                      grand          jury

           in    open          court,           which            is     what           the       language                 that        the

          Court           chose,          the         Supreme                Court           chose           in     that         case.

          Additionally,                        they         cite        to        a portion                  of     the

          language                of     that         case         in        their           brief           at     page         11.         A

 1        block           quote          from         the        Supreme               Court's               language              where

 1        they       talk          about            Rule         21.          And it's                at      the         top      of

 1        page       11.           They         say         "Rule            21 embodies                     the      right           of

 1        access           to      court            records             which            the      public              and press

 1        in     Georgia                have        traditionally                        enjoyed."                    And as

 1        opposing                counsel             also         pointed               out         there's              no law           on

 1        point           as      to     what         to     do here               because              there's

 1        actually                nothing             traditional                      about          special              purpose

 1        grand           jury.

 1                                 THE COURT:                      That's              not      the          strong

 2        argument                for     disclosure                    is        that         this          report          falls

 2        into       that          category                 of     traditional                    act.              There's

 2        nothing              traditional                   about            this        report              or      this

 2        process.                 I get            that.             That         doesn't              mean;             however,

 2        that       it        falls        outside                of    Rule            21.          It's          just         --it's

 2        not      a simple               one,         which            is        why we're                  having          to       have
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 78 of 129




           this     hearing.                  If       this          were         an indictment,                        it's          a

           simple          one      and we don't                      have          this         discussion.                      And

           it     may be that                there            is          the     name of a critical

          witness           that        the        State             is         seeking          to    redact             from

          the      indictment                until            it's          appropriate                     to    unseal

          that      piece           because             people              haven't             been         arrested                 yet

          or      something.                 That         happens                 all      the        time.             That's

          not      this.            This          is    different.

                                  MR. WAKEFORD: Well,                                    I would             say        that          the

 1        question               of whether               Rule             21 is         applied             in      this

 1        specific           way --               going        to          your         Honor's             point,             that

 1        may be something                         that        requires                  additional                  argument

 1        from      the          District              Attorney's                  Office             because             I

 1        really           think        that           demonstrates                      ably         that        we are              not

 1        within           the      realm          court           Rule           21,      and        that        we are

 1        much --           if      we are             this          is     a document                 that          is       much

 1        more      akin          to    a piece               of an ongoing                       criminal

 1        investigation,                     but        you've              heard          me a lot               on that.

 1        I also           want        to    point            out          that         we got         to        take         what

 2        guidance           we have,                  and 15-12-101                       refers            to      a final

 2        report           not      a general                 presentment.                        In other                places

 2        where       reports               are        mentioned                  like      15-12-71                 they         say

 2        report           or presentment.                            That         is      not        the        choice           that

 2        was made in                  15-12-101.                     Additionally,                         there         is      no

 2        open      court           requirement                    there.                There         is        only         that

                                                                                                                                            71
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 79 of 129




          it      goes        to    the         supervising                   judge,         and        as we said                  in

          this      case           to     the       District                 Attorney.                 That          would

          that      seems           to     indicate                something                to    me that              is

          significant,                    but      mainly              that        we are         not         in      the

          realm          of a general                     presentment                 and        certainly              my

          comments             about          the         content             guiding            the     analysis

          remain.              But        let's           go all             the    way to             saying,          okay,

          fine,          it    is        a general               presentment.                     Even          then

          15-12-80             just        says           that         the     Court         shall            order

 1        publication.                     But       it      also            empower's            the         grand          jury

 1        to     direct            the     manner.                And there                 is    no indication

 1        from      your           Honor          that       the        manner         was prescribed                         by

 1        the      grand           jury       indicating                  to       me that             says          once

 1        again       the          district              attorney              is     not        opposing              the

 1        eternal             oppression                 of the           report.                That         your      Honor

 1        has      discretion                 about          the        manner         of publication.

 1                                 THE COURT:                    Which         here         would        be timing                  as

 1        opposed             to    --

 1                                 MR. WAKEFORD: Precisely.

 2                                 THE COURT:                    No one's             fussing            about          is     it

 2        put      on a website                    or is          it      in       a docket.                  It's      really

 2        all      about           the     clock.                When does             it        go to         whatever

 2        place       that          would          be.

 2                                 MR. WAKEFORD: Precisely,                                       your         Honor.

 2        There       could             be conversations                           about         specific

                                                                                                                                         74
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 80 of 129




          portions              depending                 again         on what               the     content               of        the

          report          is.              But     really         going           back         to     where         we began

          this      is         about         timing.              Yes,           your         Honor.           That              is

          exactly              correct.                 And since                the      grand           jury's

          preference                  has         been      afforded              great          weight            as       it

          should          be.             And I'll           take          this          opportunity                 to          say

          the      District                 Attorney's              Office,               as        I'm     sure          your

          Honor          is,         are     enormously                 grateful               to     these          citizens

          for      the         really             above      and beyond                   contribution                      of

 1        their          time,             energy         and     efforts                to    this        process.                       We

 1        want      to         act        with      respect             to       their         wishes,             but       we

 1        also      have             to     act     in      as    stewards                of        an ongoing

 1        criminal              investigation                     of which                they        were         a vital

 1        part.           And so with                     regard           to     the         timing          aspect              we

 1        think          that         that         --     since         they        did        not        speak         to

 1        manner,              your         Honor         has     a discretion                       there,          if          this

 1        is      a general                 presentment.                     And so no matter                           which

 1        route      we take                 to     get      --     where           we end            up is          it's             a

 1        question              of        timing          and     now it's                just        not      the          time.

 2        The time              will         come and             the        District                Attorney

 2        committed                  to     that        idea,       it's          just         not        immediate.

 2                                   THE COURT:                  Got       it.

 2                                   MR. WAKEFORD: Thank                            you,         your         Honor.

 2                                   THE COURT:                  Thank           you.          Well,          I want              to

 2        thank      both             sides         for      being           prepared                and      having

                                                                                                                                               7S
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 81 of 129




          these          thoughtful                     presentations.                              This        is      not

           simple.                  I think             the         fact          that         we had           to      discuss

          this          for         90 minutes                    shows          that          it    is      somewhat

          extraordinary,                          Mr.        Clyde.                   Partly         what's

          extraordinary                          is     what's              at        issue         here,         the         alleged

          interference                      with            a presidential                          election.                  But

          it's          also         extraordinary                          in        the      plain        meaning               of

          that       word.              Is        that            it's          not      ordinary               to     have

          special              purpose                 grand             jury         doing         things.              That

 1        doesn't              mean,             however,                 that         there         hasn't            been

 1        course           of        conduct                developed                  over         time        as     to      what

 1        happens              with         special                purpose               grand         jury           reports             or

 1        presentments.                           It        also          doesn't             mean         that        we can't

 1        --     I can't              figure                out          a way to             assess            the      final

 1        report          through                 the        lens          of         grand         jury        secrecy              and

 1        the      statutory                     scheme            for          grand         jury's            as     well          as

 1        viewing              it     through                the          lens         of Rule             21 to         decide            if

 1        it     falls          within                the      reach             and        scope          of     Rule         21,        and

 1        that's          what          I'll            need         to         do.         My proposal                  is       that         I

 2        think          about          this            a little                 bit        and      then         contact              both

 2        groups,              the      District                   Attorney's                     Office          and       the

 2        intervenors'                      if        I've         got          specific             questions                 for

 2        which          I'd         like         more         input.                  And then             you're             welcome

 2        to     file          something                 or provide                      an email               that        these

 2        are      the         cases           you       should                 look        at.        I won't              dictate


                                                                                                                                                   7n
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 82 of 129




           the     format           in which               you respond.                      I will             be sure            if

           I have          questions,                 even       though              they       may be for                   one

           group      and not             the         other           --I      won't         say         side.           One

           group      and not             the         other           --     they         go out              to both

           groups       because            I may have                       a question                  for     Mr. Clyde

           and Ms. Gather,                   but           Ms. Willis,                    your          team         may want

           to     be heard           on that               question                even      though             it      is

          poking        more         at    the         media's               position.                   As I said

          early       on they'll                 be no rash                    decisions.                      There's          not

 1        going       to     be an order                     that           pops      out       with           no notice

 1        and      attached           to        it     is       the         report.             There           will         be an

 1        order       if     there's             going           to be disclosure                              that

 1        perhaps           says      this            is     when it            happens                 so that          both

 1        sides       have         a chance                to    react          and         take         whatever

 1        steps       they         want      to        take         in       light         of      an order              that

 1        says       this      is     going            to happen                a little                 ways         down the

 1        line.         So no one                is        going            to wake          up with              the        Court

 1        having        disclosed                the         report            on the           front           page         of a

 1        newspaper.                The report,                     of course,                  exist           in     the

 2        District           Attorney's                    control.                 So if          it     does          show up

 2        folks       will         need      to work                through            that.              But         I will

 2        circle        back,         and we'll                  figure             out      the         best         way to

 2        move forward                with           this.

 2                             Ms. Willis,                      anything              else         from         the

 2        District           Attorney's                    side?

                                                                                                                                        77
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 83 of 129




                               MS. WILLIS:                     No.        Thank         you       for      allowing              us

           to    be heard            today.

                               THE COURT:                      Thank            you for           being        here,           all

           your     team.

                               THE COURT:                      Mr.        Clyde,         anything              else         on

          behalf       of      the         interveners?

                               MR. CLYDE: Your                            Honor,         could          I speak             just

          very      briefly               to    one of             the     last         things          that         you

          mentioned?

 1                             We understand                        the         Court        will       give         the

 1        opportunity                for        either             side         to    take        whatever            action

 1        they      want       in         terms          of    appellate                issues.              We believe

 1        the      proper           court           --    if       there's            an appeal               in     this

 1        case,       we believe                    the       proper            court        should          be the

 1        Georgia           Supreme             Court.              And we believe                      the        Georgia

 1        Supreme           Court          would          be interested                      if     that's           the

 1        direction            it         takes.              But     I will            point        out       to     your

 1        Honor       that          the        constitutional                        argument           we are

 1        making       would          have           to       be reached                by your           Honor           in

 2        order       for     that             to    be the           clear           choice         and       the

 2        clearly           appropriate                   court           for        resolution              of     the

 2        issue.            So that             is       an area           we hope            the       Court         will

 2        reach.

 2                            THE COURT:                       I appreciate                   your        concern.

 2        And I think                if        there          is    a ruling             of       nondisclosure

                                                                                                                                      78
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 84 of 129




          it    would      need        to     address          the      different            basis              and

          each      of    the       basis      that      you raised.                   That         it's         not

          secret.          That        it     does      fall      within         Rule         21.           And so

          I    think      you'd        find     the      tell         holds         you    need            to    do

          what      you    need        to     do if      you         feel     that's          appropriate

          what      you    need        to     do it.           That's         the      end       result.

                            MR. CLYDE: Thank                      you,        your        Honor.

                            THE COURT:                  That's          it.         Thank        you

          everyone.

 1                              (Whereupon,             the      proceedings               are

 1        cone! uded.           )

 1

 1

 1

 1

 1

 1

 1

 1

 2

 2

 2

 2

 2

 2
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 85 of 129




                        C E R T I F I C A T E



     STATE OF GEORGIA:

     COUNTY OF FULTON:

                I DO HEREBY CERTIFY THAT THE FOREGOING

          PAGES ARE A TRUE, COMPLETE AND CORRECT TRANSCRIPT

          OF THE PROCEEDINGS TAKEN DOWNBY ME IN THE CASE

          AFORESAID.     (AND EXHIBITS   ADMITTED. IF APPLICABLE).

                THIS CERTIFICATION       IS EXPRESSLY WITHDRAWN

          AND DENIED UPON THE DISASSEMBLY OR PHOTOCOPYING OF

          THE FOREGOING TRANSCRIPT,      OR ANY PART THEREOF,

          INCLUDING EXHIBITS,     UNLESS SAID DISASSEMBLY OR

          PHOTOCOPYING IS DONE BY THE UNDERSIGNED OFFICIAL

          COURT REPORTER AND ELECTRONIC SIGNATURE ARE

          ATTACHED THERETO.

                THIS,   THE 13TH DAY FEBRUARY, 2023




                   Isl Karen Rivers
                 ***(KAREN RIVERS), CCR-***2575
                 RPR, OFFICIAL COURT REPORTER
                 SUPERIOR COURT OF FULTON COUNTY
Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 86 of 129




EXHIBIT ''B''
      Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 87 of 129




    Grand Jury Presentments
      •       Staff



      •       Nov 3, 2010 Updated Jan 25, 2016




      •       _o

          •   Facebook
          •   Twitter
          •   Email

•     Facebook
•     Twitter
•     Email
•     Print
•     Copy article link
•     Save


    REPORT AND SPECIAL


    PRESENTMENTS


    OF THE


    SPECIAL PURPOSE


    GRAND JURY-


    2009-2010


    IN THE SUPERIOR COURT


    GWINNETT COUNTY,


    GEORGIA
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 88 of 129




MAYDEL MASSELLI-MONTERO,


FOREPERSON


WILL C. WARRICK, Ill,


VICE FOREPERSON


JANICE N. MCCLOSKEY,


CLERK


OLIVER BOJARSKI,


DEPUTY CLERK


Report and Presentments of the Special Purpose Grand Jury


The 2009 - 2010 Session of the Gwinnett County Special Purpose Grand Jury consisted
of the following members:


Maydel Masselli-Montero, Foreperson


Will C. Warrick, Ill, Vice-Foreperson


Janice N. McCloskey, Clerk


Oliver Bojarski, Deputy Clerk


Emily D. Chesser


William K. Conklin, Jr.
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 89 of 129




Randall Cunico


Art Cuthbert


Tamara (Tammy) L. Delk


Dawn Fischer


Sandra Franklin


Kenneth Gauthier


Joseph Gentry


Brian Green


Sally Gustafson


Latonya .Holt


Robert Johnston (excused)


Carole de la Cruz Jones


Ronald (Ron) D. Miller


Holly Shelnutt


Randy Sneed


David Charles Steffes


Joseph Yeager
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 90 of 129




INTRODUCTION


The Special Purpose Grand Jury was empanelled by a vote of the Superior Court
judges on November 9th, 2009. We have been hearing evidence essentially every other
Friday since December, 2009. During that time we have followed the order which
empanelled the Grand Jury and inquired into the acquisition of land by the Gwinnett
County Board of Commissioners from 2004 until 2009. Utilizing a methodology which
will be described later, the Grand Jury made a detailed inquiry into five land acquisitions
which were ostensibly purchased for parks. It should be noted at the outset that none of
the properties, three of which were purchased in 2007, are currently being utilized as
parks.


The Grand Jury has diligently inquired into the standard county practices for land
acquisitions, and the results of deviations from these practices. The information that we
were required to review was so voluminous that the District Attorney was forced to
establish a secure website to produce the documents in an electronic format to make
these documents available for review. We heard the testimony of over 70 witnesses
both from county government and the private sector. It is this evidence which allows us
to reach our conclusions and make our recommendations.


From the beginning, each individual Grand Jury member believed that we were
engaged in important work. It was our goal to determine whether or not the elected
officials and county employees were making decisions that were proper, legal, and wise
in the expenditure of taxpayer money. This task was undertaken at no small price, both
personally and financially, by each Grand Jury member. The Grand Jury wishes to
express our appreciation to member Robert Johnston who stayed with us as long as he
could until financial and work issues forced him to seek an excusal. It is unfortunate that
the individual elected county Commissioners did not take our task as seriously. In fact,
one was heard to say in the Grand Jury waiting room that we were "a pain in the ass."
The Grand Jury regrets that an elected official would make such a remark. It is
particularly worrisome that this remark was made about a group of citizens who were
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 91 of 129




summoned to be grand jurors and have been performing their civic obligation for the last
ten months.


The Grand Jury wishes to thank and commend many of the witnesses who appeared
before us, including members of the county staff, who brought records for our review,
prepared for their testimony by looking at notes and documents and in several cases
prepared presentations and charts to assist us in understanding their testimony. In
particular the Grand Jury wishes to thank and commend former Commissioner Lorraine
Green for her willingness to appear on numerous occasions. The Grand Jury also
appreciates her prepared and knowledgeable testimony as well as her familiarity with
the community.


By contrast, under oath, every single sitting County Commissioner testified that they
had not reviewed any of the readily available documents prior to their testimony. This
failure to prepare in even the most basic way for their appearance resulted in a lack of
recall about most important facts of each transaction. It is the Grand Jury's opinion that
this failure to prepare for their appearance in any meaningful way is hot only an insult to
the Grand Jury but is consistent with the way in which decisions are made involving
millions of taxpayer dollars.


That being said, it is our purpose that the citizens of Gwinnett County know the results
of our investigation, hear our recommendations and that the judges of the Superior
Court consider our work completl3.


HISTORICAL CONTEXT


The Grand Jury heard testimony that prior to late 2007, the County was actually in
competition with developers in its efforts to acquire land for various government
purposes such as parks, water treatment, and roads. Prior to 2007, in order to be
competitive, county government often paid more than the appraised price of land. In
fact, this was so common that oftentimes the first offer to buy made by the County was
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 92 of 129




appraised value plus ten percent. The Grand Jury heard examples of purchases prior to
2007 where even this offer was insufficient to induce sellers to sell.


In late 2007 and certainly by 2008, the real estate market collapsed. Prices for raw land
plummeted and proposed developments were foreclosed on. Yet, the Grand Jury heard
testimony from the Director of Support Services and from the current elected County
Commissioners that county government continued its practice of offering, and paying, at
least the appraised price plus ten percent.


Neither the Director of Support Services, nor the commissioners could provide the
Grand Jury with a plausible explanation for continuing the practice.


STANDARD PRACTICES


IN LAND ACQUISITION


In our first 3 meetings the Grand Jury was presented evidence about how land is
acquired by county government in the normal course of business. In general, we found
that several departments are involved in land acquisition depending on the purpose for
which the property is being acquired.


Department of Support


Services


The Grand Jury heard testimony from Steve North, the Director of Support Services. He
testified that the role of his department in land acquisition was two-fold. In the case of
park acquisition, once a need had been established for a park or a particular tract had
been identified, he was notified by the Director of Community Services, Phil Hoskins. He
would then direct his staff to either locate a suitable parcel or parcels to meet the need
or to conduct an evaluation of an identified parcel.
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 93 of 129




The evaluation process consisted of several steps. First, employees of Support
Services would research the property using available county resources to determine the
apparent sultablllty of the property for the proposed purpose. The owner of the property
may also be contacted to determine if there is an interest in selling and at what price.
The second step was to receive Board of Commissioners' approval to obtain an
appraisal of the property. If approval was denied, the process would end.


After the appraisal was approved, North would request bids from a list of approved
appraisers, select the lowest qualifying bidder and have the appraisal done. Once the
appraisal was done, the results of the work of Support Services would be presented to
the Board of Commissioners in an executive session. Since 2006, the commission has
adopted a rule that there can be no vote on land purchases in executive session, these
votes must be made in an open public meeting. Based upon this rule, Mr. North testified
that if he receives a "consensus" from the Board and "direction" from the Board he
moves forward to the next step.


Mr. North could not, nor could any present or former county employee, describe how he
determined that there was a "consensus." It was variously described as "no one said
anything," "no one disagreed, everyone nodded." The consensus or directions to Mr.
North are not recorded in any county document and as we learned later, no elected
commissioner had a clear recollection of the meetings. In fact, on at least one of the
transactions reviewed in detail, there was a strenuous disagreement about the purchase
price between Chairman Bannister and Commissioner Beaudreau, but this was
described by county staff that they left the meeting believing there was a "consensus" to
purchase the property at a higher price. This is a common practice which ended up
costing taxpayers $1,152,662.00. To date, the Grand Jury has not been provided with
an explanation of this "consensus"


concept but does note that Webster's Dictionary defines consensus as:


a) general agreement; unanimity
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 94 of 129




b) the judgment arrived at by most concerned


Mr. North then testified that once a consensus had been arrived at, he was authorized
to negotiate a purchase price within the limits set by the Board. If an agreement could
be reached with the seller, the documents were delivered to the Law Department for the
preparation of a formal offer which was then submitted to the Board of Commissioners
for approval to purchase. No purchase or offer was final until approved by the Board.


Mr. North also testified that his department was responsible for the purchase of land for
other facilities such as fire stations, police precincts and libraries but that the process
was the same.


Since the Grand Jury did not select any acquisitions by this department for further
review, we have no comment on the operation of the Department of Support Services.
The Grand Jury does note that Director Steve North provided us with documents which
supported his testimony and answered our questions.


DEPARTMENT OF


COMMUNITY SERVICES


The Grand Jury heard testimony from Phil Hoskins regarding the role of his department
in land acquisitions. Mr. Hoskins testified that land needs for his department were
identified from two primary sources. First was the Master Plan developed by county staff
and approved by the Board of Commissioners in 2004 and 2007. The second was the
traditional practice of placing a large "active" park near high schools so that the park
athletic program would support the athletic program at the high school. Mr. Hoskins
testified that there was no formal process in place between the county government and
the Gwinnett County Public Schools to coordinate this process.


Once a need had been identified, the process of acquisition was turned over to the
Department of Support Services to handle the acquisition. Mr. Hoskins testified that he
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 95 of 129




was present at executive sessions when properties related to his department were
presented to the Board. He also attempted to describe to the Grand Jury the
"consensus" concept.


Since the Grand Jury did not select any acquisitions by this department for further
review, we have no comment on the operation of the Department of Community
Services. The Grand Jury does note that Director Phil Hoskins provided us with
documents which supported his testimony and answered our questions.


LAW DEPARTMENT


Karen Thomas, the County Attorney testified that the role of her department fell into two
general categories. First, her department is responsible for the preparation of all legal
documents related to the purchase in the "standard acquisition." Second, her
department is responsible for litigating or overseeing the litigation of re-zoning cases,
condemnations and all other cases which may arise out of land acquisition. In the
course of preparing for litigation, county attorneys are authorized to hire appraisers of
their own choosing as expert witnesses without the necessity of Board approval.


Since the Grand Jury did not select any acquisitions by this department for further
review, we have no comment on the operation of the Law Department. The Grand Jury
does note that Karen Thomas provided us with documents which supported her
testimony and answered our questions.


DEPARTMENT OF


WATER RESOURCES


Lynn Smarr, the Director of Water Resources testified that her department acquired
land for sewer and water lines, pump stations and treatment facilities. These
acquisitions were handled within the department and no property could be purchased
without Board approval.
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 96 of 129




Since the Grand Jury did not select any acquisitions by this department for further
review, we have no comment on the operation of the Department of Water Resources
as it relates to land acquisition. The Grand Jury does note that Director Lynn Smarr
provided us with documents which supported her testimony and answered our
questions.


DEPARTMENT OF


TRANSPORTATION


The Grand Jury heard testimony from Brian Allen regarding land acquisition by his
department. Mr. Allen described that his department was responsible for acquiring land
for roads including intersections and rights of way. He described that his department
acquired land in accordance with the Transportation Master Plan through either
purchase or condemnation. Land acquisition was done within the department.


Since the Grand Jury did not select any acquisitions by this department for further
review, we have no comment on the operation of the Department of Transportation. The
Grand Jury does note that Director Brian Allen provided us with documents which
supported his testimony and answered our questions.


GENERAL FINDINGS


• It should be noted that none of the acquisitions reviewed by the Grand Jury followed
the procedures outlined by these witnesses.


• The procedures described above are not in any comprehensive document or
procedure manual that the Grand Jury could find.


• No present or past commissioner who testified before the Grand Jury displayed any
familiarity or understanding of this process.
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 97 of 129




• Land parcels in which the county may be interested in purchasing are identified from a
variety of sources including inquiries from sellers, contacts with individual
commissioners, and investigation by county employees.


• No parcel would be put on an executive session agenda for review by the Board
unless staff received the approval of the District Commissioner for the district in which
the land was located or the approval of the Chairman.


METHODOLOGY


The Grand Jury was presented evidence that as of November 13, 2009 the county
government owned approximately 4,682 discrete parcels of land. These parcels ranged
in size from several hundred acres to parcels which could be measured in square feet.
We were then presented evidence that during the time period from 2005 to 2009 the
county acquired 1, 156 parcels of varying sizes.


We quickly realized that to examine each transaction during the relevant time period
would be impossible for a group of twenty-three citizens had been asked to "put aside
the press of their everyday lives" and serve as Grand Jurors. At the suggestion of the
District Attorney, we developed a set of criteria to evaluate the purchases to determine
which transactions would be reviewed.


We applied these criteria to all of the land acquisitions and arrived at seventeen (17)
potential properties. Of those seventeen (17) we selected five (5). After ten months of
evidence and after hearing testimony twice a month for those ten months we are
confident that we have enough information to draw our conclusions and issue this
report.


The criteria which the Grand Jury used to filter the transactions were as follows:


• Was the transaction initiated by an individual commissioner? (As opposed to initiated
by staff as part of a Master Plan)
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 98 of 129




• Was the transaction to settle litigation?


• Was there a relationship between the seller and the commissioner who initiated the
purchase?


• Was there a significant difference between the county's appraisal and the purchase
price?


• How long had the seller owned the property before it was sold to the county?


• Was the parcel suitable for the proposed use?


The information to answer these questions was provided from public records, the
testimony of investigators from the District Attorney's Office and from the testimony of
the previously mentioned county employees.


The properties which were initially selected for review were identified by the Grand Jury
as follows and each transaction will be described in detail in this report.


RABBIT HILL PARK


EXPANSION


Summary of the Transaction


The Rabbit Hill Park expansion was actually made up of three separate transactions
spanning several years and involving a number of parcels. The stated purpose for the
acquisition was to provide an expansion of the existing Rabbit Hill Park and/or to settle
pending litigation.


According to the evidence that was presented, these tracts of land are located along
Rabbit Hill Road in Dacula and are across from and adjacent to the existing Rabbit Hill
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 99 of 129




Soccer Park. The three transactions resulted in the acquisition of 124.3 acres by the
Gwinnett County Board of Commissioners in 2005 and 2007.


Transaction 1


According to the testimony of James Braden, he purchased a tract of land on Rabbit Hill
Road in 2003 primarily to reinvest funds from another transaction primarily for tax
reasons. The tract was a roughly triangular piece of property consisting of
approximately 19.5 acres. When Braden purchased the property, it was zoned as part of
a Light Industry District (M-I) and was physically located in the district represented by
Commissioner Kevin Kenerly.


In February 2003 Braden applied to have the property re-zoned for multi-famllv
residences at a density of 8 units per acre (RM-8). A vote by the Planning Commission
on November 2003 denied the zoning as requested but allowed for detached single
family dwellings (R-ZT Detached). The Board of Commissioners upon motion of
Commissioner Kenerly, voted to modify the original zoning request to R-ZT Detached.


After the re-zoning was approved, as modified, Braden and the Gwinnett County Board
of Commissioners were sued by Publix Supermarkets who operated a large distribution
facility on an adjacent tract. Publix contended that placing residences so close to the
                       .J
distribution center would lead to a disruption of their business.


In order to settle the lawsuit, the Board of Commissioners purchased the tract for
$1,903,163.00 and entered into certain agreements regarding future development of the
property.


Transaction 2


The second transaction in the Rabbit Hill expansion involved several tracts with an
aggregate of 90.58 acres. The evidence before the Grand Jury showed that D.G.
Jenkins Development Corp., a corporation owned and operated by David Jenkins
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 100 of 129




purchased the property in November of 2005 for $7,981 .400.00. When Jenkins
purchased the property there was a pending re-zoning application filed by the seller
C.E. Smith to zone the property from R-100 (Single Family Residence) to R-ZT
(Residential Zero Lot LinefTownhouse). Jenkins, represented by the law firm of
Mahaffey, Pickens and Tucker amended the application to include some commercial
development on two of the included tracts.


In July of 2006, the Board of Commissioners denied the applications and left the
property zoned R-100 for the commercial application. The residential application was
approved as R-100 modified and R-ZT. In light of the re-zoning decision and its effect
on his planned development, Jenkins. instructed his attorneys _tofile suit against
Gwinnett County.


In April of 2007 Jenkins transferred ownership of the property from D.G. Jenkins
Development Corporation to Sydney Investments for a stated purchase price of
$10,390,554.00. This transaction was described by Jenkins as a "cash out" transaction
that did not change the real ownership of the property or his plans for developing the
property.


In May of 2007 based upon a motion by Commissioner Kenerly, the County agreed to
purchase the property for $16,260,000.00 as an active park and to settle the lawsuit.


Transaction 3


The third transaction was the acquisition of 14.2 acres located adjacent to Rabbit Hill
Park. The testimony disclosed that the property was purchased in May of 2006 by
Charles Ashworth d/b/a/ Cidpro, Inc. This purchase was made to acquire a full interest
in the property from a partnership in which Mr. Ashworth was a partner. The


purchase price in 2006 for 14.22 acres was $370,865.00.
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 101 of 129




Mr. Ashworth applied in August of 2007 to change the zoning to R-ZT. This application
was denied by both the Planning Commission and by a vote of the Board of
Commissioners. The zoning was modified from RA-200 to R-60 with the stipulation that
the owner donate approximately 4 acres to the County.


Based upon the vote of the Board, Mr. Ashworth instructed his attorney Lee Thompson
to file suit against the County. In October 2007 Ashworth sold the property to the County
for $1,000,000.00 partially based upon the purchase price paid to Jenkins and Braden.
This payment was made in settlement of the litigation and as an expansion of Rabbit Hill
Park.


TESTIMONY OF WITNESSES


Based upon our findings and recommendation, the Grand Jury believes that a
presentment or report is not the appropriate forum to report our findings.


FINDINGS OF THE GRAND JURY


Based upon a review of all the evidence and testimony of witnesses, the District
Attorney is directed to prepare a Bill of Indictment which charges Kevin Kenerly with one
count of Bribery and two counts of Failure to Disclose Financial Interest. The Bill of
Indictment is to be served upon Kevin Kenerly in accordance with law and brought
before us for our consideration on October 8, 2010.


PEACHTREE INDUSTRIAL


BOULEVARD PROPERTY


Summary of the Transaction


The Grand Jury heard testimony and received evidence regarding a tract of land located
on Peachtree Industrial Boulevard which consisted of 66.635 acres.
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 102 of 129




In the Spring of 2006, this parcel of land was identified as a possible site for an active
park for the new Lanier High School cluster. Pursuant to procedure, the Department of
Support Services contacted the owner, Mr. Wendell Starke to determine his interest in
selling. Mr. Starke indicated that he would be willing to sell for the price listed in an
appraisal he had obtained which was approximately $10.5 million dollars. The
Department of Support Services obtained an independent appraisal which placed the
value at $10.89 million dollars. Mr. Starke indicated that he would be willing to sell at his
original price.


Former County Administrator Jock Connell testified that on six different occasions
between September 2006 and March 2007, he requested permission from the district
commissioner, Kevin Kenerly, to place the purchase on an executive session agenda to
get Board approval to move forward with the purchase. On each occasion, permission
was denied.


By April of 2007, Mr. Starke was frustrated by the lack of action by the County and
accepted an offer from Brickton Commercial Partners, LLC to buy 58 acres of the parcel
for $9.995 million dollars. The property was placed under contract during the first week
of April, 2007.


Brickton Commercial Partners is a company owned by David Bowen, Thomas Michael
Phelps, Jr. and Eric Cape. They testified that they


purchased the property for development but that after they put the property under
contract, they were informed by Mr. Starke's agent that the County had been interested
in the property. The partners instructed their attorney to inquire about the County's
interest and set an asking price of 13.95 million dollars. The attorney, Lee Tucker of
Mahaffey, Pickens & Tucker confirmed the interest and communicated the asking price.


Brickton closed on their contract and purchased the property on August 6, 2007. The
Gwinnett County Board of Commissioners, upon motion by Kevin Kenerly, voted to
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 103 of 129




purchase Brickton's 58 acres on August 7, 2007. The County closed with Brickton on
August 14, 2007 paying the asking price of $13,950,000.00.


TESTIMONY OF WITNESSES


The Grand Jury acknowledges that when we first.applied the criteria for review to this
transaction, there were several areas of concern. However, after a complete review of
the evidence only one question remains


unanswered.


Mr. Wendell Starke testified that in the Spring of 2006 he was prepared to sell the entire
tract of land to Gwinnett County and entered into good-faith negotiations with the
County.


The county staff, including Steve North and Jock Connell, testified that they were ready
to move forward with the purchase as early as September, 2006.


The principals of Brickton Commercial Partners, LLC testified that they had been
interested in the property and had made prior offers since 2001. They testified that Mr.
Starke's agent approached them in March of 2007 and that they put the property under
contract during the first week of April, 2007. Their stated intention was to build a
development similar to the Suwanee Town Center. They particularly believed this
development would be successful since the proposed Sugarloaf Extension was slated
to end right in front of the property. The timing of the closing date was adequately
explained by both the principal and their bankers as having to do with financing
considerations. The Grand Jury finds nothing improper regarding the purchase of the
tract by Brickton.


The principals of Brickton testified that they learned of the County's interest in the
property after placing the property under contract. This was confirmed by Mr. Starke
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 104 of 129




and his agent. The principals then testified that because they wanted to resolve the
issue with the County they set a "take it or leave it" purchase price: The County took it.


Commissioner Kevin Kenerly did not testify and asserted, through counsel, his Fifth
Amendment right against self-incrimination. The delay from September 2006 until April
2007 was never explained.


FINDINGS OF THE GRAND JURY


The Grand Jury had been unable to ascertain the reason why CommissionerKenerly
would not allow the land purchase to be placed on the Executive Session agenda for
review by the entire Board. This transaction is a prime example of the custom of district
courtesy gone wildly out of control. No Commissioner should be allowed by rule or
custom to control the agenda of the entire Board. Staff should be allowed to take it upon
themselves to bring a matter of this magnitude to the entire Board or, at the very least,
to the Chairman for action. This example of blind adherence to custom cost the
taxpayers three point four million dollars.


LAKES PARKWAY


PROPERTY


Summary of the Transaction


The Grand Jury heard testimony and received evidence that this is an 8.27 acre parcel
located on Lakes Parkway outside of Lawrenceville. The property is located in District 1
which was represented by former Commissioner Lorraine Green until January 1, 2009
when Commissioner Shirley Lasseter took office. The property was acquired by Elite
Land Development, Inc. in April 2005 for $300,000.00. The principle owner of Elite, Joe
Dixon, testified that the original purpose of the purchase was to build office condos and
that in fact he had begun development of the project with the installation of
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 105 of 129




infrastructure. However, because of financial issues and the failing economy, he was
unable to complete the project.


In 2007, Elite through its agent initially approached the County to purchase the land for
a park or as a headquarters for a central library.


On February 17, 2009 the Gwinnett County Board of Commissioners voted to purchase
the 8.27 acres for $1,161,500.00 from Elite. The purchase was placed on the consent
agenda and approved by consent. The proposed use was for a trailhead of 35 acres
already owned by the County.


TESTIMONY OF WITNESSES


Mr. Phil Hoskins, the Director of Community Services first became aware of the property
when it was proposed as a possible site for a central library. He did not recall who
brought it to his attention but he rejected the site because of its location. When asked to
consider alternate uses, Mr. Hoskins stated that the property provided entry to
approximately 25 acres already owned by the County but that it would require access
across the Yellow River. He stated that he had a feasibility study done which indicated
that a twelve foot wide pedestrian bridge would cost approximately one million dollars.
The cost of the bridge was included in the PowerPoint presentation which was made to
the Board of Commissioners in Executive Session.


Mr. Steve North testified that as Director of Support Services he was assigned by the
Board of Commissioners to negotiate the purchase of the Lakes Parkway property on
behalf of Gwinnett County. He stated that on January 6, 2009 the Board was first
presented the property in Executive Session and requested a cost estimate on the
bridge. On January 20, 2010 the tract was brought up again including the cost of the
bridge and Mr. North was authorized to negotiate a purchase price of appraisal plus up
to fifteen percent ($1,000,000,00 + up to 15%).
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 106 of 129




Mr. North stated that by January 20, 2010 he knew that sitting Senior Judge James
Oxendine was acting as an agent for the seller. On or about January 20, 2010 he
contacted James Oxendine at his office in the courthouse to deliver the preliminary offer
letter with the offer of appraised value. Oxendine told him that rather than mail the letter,
North could just bring it over to his office. That is exactly what North did.


North testified that James Oxendine, upon receipt of the letter in his office, made a
counter offer of appraised value plus 10 percent. North agreed and the purchase price
was set at one million one hundred and eleven dollars. North testified that on January
30, 2010 he received a call from James Oxendine and again met in Oxendine's office in
the courthouse. Oxendine told North that he knew North's authority to negotiate was
appraised value plus 15 percent and that he needed to change the purchase price to
reflect that amount. Mr. North testified that he was surprised that Oxendine was aware
of the limits of his authority. Based upon that knowledge and the position of James
Oxendine as Senior Judge he felt further negotiations would not be feasible.


Former County Administrator Jock Connell testified that he first became aware of the
property when it was brought to his attention by former Senior Judge James Oxendine.
Mr. Connell testified that Mr. Oxendine indicated that he was representing the sellers,
that they needed to sell, and proposed that the County purchase the property for a
library site. Mr. Connell stated that Mr. Oxendine met with him four to six times to press
the sale since Connell was not inclined to recommend the purchase of the property. He
stated that the property could possibly be used to "fill a qap" in that area of the county
but its acquisition was not a staff priority. Mr. Connell stated that he was convinced that
a member of the Board of Commissioners disclosed the limits of the negotiating
authority granted by the Board.


Commissioner Kevin Kenerly, Bert Nasuti and Mike Beaudreau all testified that they
deferred to Commissioner Shirley Lasseter in this land acquisition because of district
courtesy and therefore had very little knowledge of the transaction. They denied
knowing about the cost of the bridge when they voted to purchase. They denied
knowing that James Oxendine represented the seller.
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 107 of 129




Commissioner Shirley Lasseter testified that she took office in January, 2009 as District
1 Commissioner. She stated that she first learned of the proposal to purchase the
property in Executive Session. She did not recall the specific authorization given to Mr.
North. She stated that she did not know James Oxendine was the seller's agent. She
stated that she had looked at the property. Mrs. Lasseter denied that she initiated the
purchase and then she relied on staff to work out the details and bring the purchase
forward when they were ready. She acknowledged that it was logical that she would
have initiated the process, and that she should have been the one to put the matter on
the Executive Session agenda but denied doing so. She testified that she did not know
about the change in purchase price and the negotiation with James Oxendine.


Former Judge James Oxendine testified that he did not consider his actions to be
engaging in the practice of law. He stated that he was doing a favor for the son of his
old friend Randall Dixon and took no fee. He stated that it was common knowledge that
Gwinnett County paid 15 percent over the appraised value and he had just made a
mistake when he agreed to 10 percent. He denied that he had received any information
from any County Commissioner about the negotiation authority granted to Mr. North.


FINDINGS OF THE GRAND JURY


First, it was a stunning revelation to the Grand Jury that no member of the county staff
expressed any reservations about-being involved in a real estate transaction where a
sitting Senior Superior Court Judge is acting as the seller's agent. If the Commissioners
who testified are to be believed, it is inconceivable that this information was not
disclosed prior to any vote to purchase. Leaving aside questions of fees and negotiating
a land deal in a judge's office in the courthouse, the sheer impropriety of this
representation should have been a warning sign.


Second, despite testimony to the contrary by County Commissioners, they were
presented with information regarding the cost of the pedestrian bridge prior to the vote
to purchase. The evidence is clear on that fact. They weren't paying attention.
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 108 of 129




Third, it is the conclusion of the Grand Jury that the information regarding the
negotiation authorization was given to James Oxendine after he signed the initial
purchase price agreement. Also it was common practice for the Board of
Commissioners to authorize 10 percent over appraisal not 15 percent. An examination
of all of the evidence, including the relationships of the parties, can only lead to the
conclusion that it was a member of the Board of Commissioners who disclosed this
information. While this conduct may not constitute a crime, it is certainly a bad business
practice which led to an unfair benefit to the land seller in this case.


The Grand Jury believes that the conduct of former Senior Judge James Oxendine was
inappropriate if not unethical. However since he has left the bench there seems to be no
sanction available for us to recommend.


Commissioner Shirley Lasseter testified about her recollection of the events which led
up to this property acquisition. After observing her demeanor and hearing her testimony
the Grand Jury specifically recommends the following:


1. That Commissioner Lasseter develop at least a basic understanding of the land
acquisition process;


2. That Commissioner Lasseter become more engaged in issues which affect her
district and the entire county;


3. That Commissioner Lasseter must understand her role as a policy maker and
decision maker rather than relying on the county staff to do her work for her.


In conclusion, the Grand Jury can find no rational, reasonable basis for the acquisition
of this property other than to bail out the son of an old friend of several members of the
Board of Commissioners. The Grand Jury can find no evidence of a crime in this
transaction but that doesn't make it right.


GIVENS ROAD PROPERTY
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 109 of 129




Summary of the Transaction


The Grand Jury heard testimony and received evidence regarding this 33.198 parcel of
land which adjoins Palm Creek Park in District 3 represented by Commissioner Mike
Beaudreau. The Grand Jury learned that the property was placed under contract by
Falcon Investments, LLC, a company owned by Marvin Hewatt and Larry Fleeman, in
October of 2007. Once the property was placed under contract, Mr. Hewatt instructed
his attorney Lee Tucker of Mahaffey, Pickens & Tucker to file a re-zoning application to
change the zoning from RA-200 to R75 Modified. Both the Planning Commission and
the Board of Commissioners voted to deny the application. Hewatt then instructed
Tucker to file suit against the County.


During the pendency of the suit in preparation for litigation, the county law department
commissioned an appraisal which valued the property at $1,138,000.00.


During the pendency of the litigation Mr. Hewatt met with Chairman Charles Bannister in
Bannister's office in the courthouse and had delivered his own appraisal which valued
the property at $2,423,000.00. This meeting occurred in February, 2009.


On May 5, 2009, the Board of Commissioners voted to approve the purchase of the
property for $2,290,662.00.


TESTIMONY OF WITNESSES


Mr. Marvin Hewatt testified that in addition to other business interests, he and his
partner had made several land purchase investments. The business plan he described
was that a parcel of land would be located, the property would be purchased, and the
property would be re-zoned for high density residential purchases then sold on a per lot
basis to a developer.


He testified that in 2007, Falcon Investments purchased approximately 33 acres of land
located on Givens Road for forty-eight thousand five hundred dollars per acre. Once the
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 110 of 129




purchase was made, Mr. Hewatt instructed his attorney, Lee Tucker to file a re-zoning
application to change the zoning from RA-200 (Residential/Agricultural) to RA-75 (High
Density). The application was filed and eventually denied. Mr. Hewatt testified that
during the pendency of the re-zoning application, he met with Commissioner Mike
Beaudreau but was not encouraged by the commissioner's response to his application.
His exact words were, "he didn't say what I wanted to hear."


After the denial, Mr. Hewatt authorized his attorney to file a lawsuit which was served on
Gwinnett County on December 2, 2008. While the lawsuit was pending, Mr. Hewatt
testified that he had received a phone call from his attorney instructing him to get an
appraisal of the property because the county appraisal had valued the land at
approximately thirty-four thousand dollars per acre. Based upon this conversation, Mr.
Hewatt hired James Clower to appraise the property.


Mr. Hewatt testified that Mr. Clower appraised the property at approximately seventy-
three thousand dollars per acre.


Mr. Hewatt testified that on February 24, 2009 he met Mr. Clower in the office of
Chairman Charles Bannister and Mr. Clower delivered the appraisal directly to the
Chairman. He then stated that he received a call from his attorney who told him that the
county had made an offer of approximately sixty-eight thousand dollars per acre. Mr.
Hewatt testified he was not happy with the offer but acting on advice of counsel he
accepted it.


Mr. Hewatt described his relationship with Chairman Bannister as a friend and political
supporter. He stated that he allowed Bannister to use a billboard for political advertising
•without charge and the use of a van for political purposes without a charge. The Grand
Jury has been unable to locate these contributions on Mr. Bannister's disclosure filings.
Mr. Larry Fleeman testified that the van was later purchased with Bannister campaign
funds.
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 111 of 129




Mr. James Clower testified that he did an appraisal of the Givens Road property at the
request of Lee Tucker on behalf of Tucker's client Falcon Investments. He stated that
his opinion of value of the property was seventy-three thousand dollars per acre and
that the highest and best use was for a RA-200 subdivision. He stated that his value per
acre was based on the amount paid per acre for comparable tracts adjusted for an
economic decline.


Mr. Clower then testified that he personally delivered his appraisal to Chairman Charles
Bannister and Marvin Hewatt in the Chairman's office in the Justice and Administration
Center. He stated that he believed it was on February 23, 2009. He remembered
because Mr. Hewatt and Chairman Bannister pointed out an error in the appraisal
where the appraisal was directed to Marvin Hewatt rather than Lee Tucker. He said he
left, returned to his office, made the correction and returned to the chairman's office.
When he returned, Mr. Hewatt was still in the office so he delivered the appraisal and
left.


Commission Chairman Charles Bannister testified that he had known Marvin Hewatt for
years and considered him a friend. Bannister said that Hewatt had sent him a plat of the
Givens Road property expressing an


interest in selling the property to the County. Chairman Bannister testified that he had a
recollection of the re-zoning application, its denial and the subsequent lawsuit. He was
also aware of the County appraisal of the property. He stated he believed the County
appraisal was too low based on prior County purchases. Chairman Bannister
remembered becoming aware that the County had received an appraisal from a third
party which valued the land at approximately seventy thousand dollars per acre but was
unclear about where that appraisal originated.


Chairman Bannister on the 23rd of July, 2010 denied that he met with Marvin Hewatt in
his office and denied that he received the appraisal from James Clower or Marvin
Hewatt. On August 20, 2010, after the Grand Jury had subpoenaed his calendar, Mr.
Bannister acknowledged that the meeting
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 112 of 129




may have taken place since it was on his calendar but again denied receiving the
appraisal from Hewatt or Clower.


Chairman Bannister stated that he decided to "take the lead" on this particular purchase
because of "so many no votes" coming from Commissioner Mike Beaudreau. He stated
that getting this land transaction passed was to get Mr. Beaudreau's attention. To quote
his testimony, "It was pure politics." He testified that this purchase was an object lesson
to Commissioner Beaudreau.


Commissioner Kevin Kenerly testified that after the lawsuit was filed, he spoke to Marvin
Hewatt's attorney who attempted to settle the lawsuit with the purchase of the land by
the County. He said that he voted to deny the re-zoning request out of district courtesy.
Mr. Kenerly testified that after the lawsuit was initiated he was in favor of the land
acquisition because of his perception that the Law Department lost most re-zoning suits
and the


zoning decisions of the Board of Commissioners were not upheld. He also stated that
he believed that the County appraisal of the property w.as incorrect and not in line with
previous purchases in the same area.


Kenerly testified that Chairman Bannister produced an appraisal at an Executive
Session but that he didn't know where the appraisal came from. However, he stated that
based on a lack of information from county staff, he believed that the sellers appraisal
was a more accurate assessment of the value of the property. Kenerly stated he
witnessed a heated discussion between Chairman Bannister and Commissioner
Beaudreau and therefore he stated that he believed that Chairman Bannister was
pushing the acquisition to "stick it to Mike". He stated that he disregarded district
courtesy in his vote because Commissioner Beaudreau had benefitted from previous
Board actions but then publicly criticized these actions. He cited the 2008 millage rate
vote as an example.
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 113 of 129




Commissioner Bert Nasuti basically testified to the same facts and perceptions as
Kenerly.


FINDINGS OF THE GRAND JURY


The Grand Jury could not find any evidence of any direct payment to any public official
to induce any performance of an official duty. However, it is clear that in this land
acquisition the regular process was subverted to benefit a long-time friend and political
supporter of Charles Bannister. Just as disturbingly, over one million dollars of taxpayer
money was used to make a political point. The Grand Jury believes that all of the district
commissioners who voted in favor of the Givens Road property acquisition made
choices that were financially unsound, motivated by petty politics and generally wrong
for the citizens of Gwinnett County.


Furthermore, this particular acquisition is an example of what appears to be a complete
disconnect between county staff and the current Board of Commissioners. Business
decisions are being made without seeking input from staff, without staff volunteering
information or without any real knowledge of the likelihood of success of any particular
lawsuit.


The Grand Jury heard testimony in this case that the tract in question was not part of
the Parks Master Plan nor did the park that adjoined the property need to be expanded.
Despite that information the Board pursued acquiring the land.


The Grand Jury also heard testimony that the perception of Commissioners Kenerly,
Nasuti and Beaudreau was that the lawyers for the County were unable to prevail in
zoning lawsuits so settlement was their only option. The testimony from the Law
Department was that the County prevails in most zoning lawsuits and in any event the
result of a loss would be a remand for a new zoning decision not the payment of
monetary damages.
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 114 of 129




This particular case, in the opinion of the Grand Jury, was not one which cried out for
settlement unless the agenda was to allow the landowner to make a profit on the sale. If
settlement was not mandated, the question of varying appraisals would never have
come up. The only conclusion that can be reached is that the Board of Commissioners
made a decision based on faulty information or perception or there was an agenda
other than the best interests of the public at work in this case.


Based upon the contradiction between the testimony of Charles Bannister and Marvin
Hewatt, the Grand Jury directed the District Attorney to prepare and present an
indictment charging Charles Bannister with Perjury.


On October 8, 2010 Mr. Bannister asked the Grand Jury not to indict him and to allow
him to resign effective immediately. After a consideration of the evidence in the case,
the proposed charge, and in the interest of limiting costs to taxpayers and expediting a
resolution of this matter, the Grand Jury decided that it was in the best interest of the
citizens of Gwinnett County to allow Bannister to resign and for the Grand Jury to return
a "No Bill" of Indictment. The Grand Jury in making this decision also considered the
following factors:


• In our investigation which included a review of financial records, we did not uncover
any evidence of an illegal payment or bribe in this transaction. The proposed charge
was based upon contradictions in testimony before us, not upon the transaction itself.


• The Grand Jury weighed the possible outcomes. If we had returned an indictment then
removal from office would have depended upon the outcome of the criminal trial. The
Grand Jury decided that assured, permanent removal from office was the appropriate
solution to one of the problems we uncovered in our investigation.


1-85 AT BEAVER RUIN


PROPERTY
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 115 of 129




Summary of Transaction


The Grand Jury heard testimony regarding these two parcels containing 36.79 acres
(Tract A) and 21.12 acres (Tract B). In 2005 these two tracts were owned by Retail
Development Partners, LLC, a company which is owned by Wayne Mason and others.
In 2005, Retail Development applied for a re-zoning of Tract A from Commercial (C-2)
to Multi-Family Residential (RZM). The Planning Commission voted to recommend
approval of the re-zoning however, the Board of Commissioners upon motion of former
Commissioner, Lorraine Green voted to deny the re-zoning. Retail Partners filed suit to
challenge the denial.


During the litigation Tract A was appraised at a value of $4,650,000.00. On February
15, 2007, the County purchased Tract A for $4,650,000.00 and Mr. Mason donated
Tract B which consisted of a stream and wetlands. The purpose of the purchase was for
a public park and settlemenfof litigation.


TESTIMONY OF WITNESSES


Mr. Wayne Mason testified that he and other partners originally acquired a tract of land
which he called the Rich's site in 1980 or 1981 and that the tract originally was made up
of over one hundred acres. Actually, the Grand Jury learned that the tract contained one
hundred thirty-three acres. He testified that after two or three years, he wanted to sell
the property based on an offer but that his partners didn't want to sell so his partners
bought him out for 5.7 million dollars.


Mr. Mason testified that he reacquired the entire piece of property back in "the 1990's"
for 5.5 million dollars. He stated that one of the reasons he reacquired the tract was he
needed stream buffer credits to develop another property at the now intersection of
Pleasant Hill Road and North Berkley Lake Road. He also stated that since he knew the
property was zoned for commercial development, he could use the property in his
business.
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 116 of 129




Mr. Mason then testified that he sold part of the property which has frontage on Satellite
Boulevard for commercial development and used his approved stream crossings to
subdivide the remaining property. He stated that he applied for a zoning which would
allow for the construction of apartments, was granted the re-zonings and sold each of
the parcels for in excess of 5 million dollars. By 2007, the only parcel that had not been
sold was the parcel in question in this inquiry and the property surrounding the


stream. This was a total of approximately 57 acres.


Mr. Mason told the Grand Jury that he received an offer to sell 30 acres for the purpose
of building apartments contingent upon a re-zoning of the property. He applied for the
re-zoning, received a positive recommendation from the Planning Commissioner but
when the matter went to a vote before the Board of Commissioners, his application was
denied. When the application was denied, Mr. Mason instructed his attorneys to file suit
against Gwinnett County.


Mr. Mason testified that while the re-zoning process was ongoing he had no official
conversations with any county commissioner but acknowledged that he may have
spoken to one or more informally. After the filing of the lawsuit, Mr. Mason
acknowledged that he spoke to Lorraine Green urging her to buy the property because
he was confident he would win the lawsuit.


Significantly, Mr. Mason also testified that as early as 2001 the Gwinnett County
Commission voted to condemn the entire 133 acres for green space acquisition. He
testified that his understanding was that the condemnation effort was dropped because
of problems with title to the property and because Commissioner Nasuti wanted an
aquatic center on Peachtree Industrial Boulevard.


Mr. Mason finally agreed to settle the lawsuit for less than the contract price he had
been offered and agreed to donate the wetlands (Tract B) to the County. He stated that
he agreed to settle because when he considered the tax ramifications, the court costs
and the value of the wetlands if he kept them, it made no business sense.
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 117 of 129




Lorraine Green, former District 1 Commissioner testified about her involvement in this
transaction. She began by saying that from the outset she was opposed to Mason's re-
zoning application. She stated that it was her belief that the last thing that Satellite
Boulevard needed was more apartments. However, she testified that she was contacted
by representatives of the neighborhoods adjoining the tract who were willing to
negotiate with the re-zoning applicant if they could not stop the re-zoning. Mrs. Green
testified that she remained opposed to additional apartments and so despite the
recommendation of the Planning Commission, after consultations with the Law
Department, she made the motion to deny the re-zoning. She said that, with the
exception of Chairman Charles Bannister, it was not difficult to persuade the other
commissioners to support her motion.


Mrs. Green testified that the idea to purchase the property for green space came from
her. She testified that she was aware of the events of 2001 and believed the purchase
was appropriate. She testified that although the litigation was only about Tract A, she
insisted on the donation of Tract B as part of the settlement. Mrs. Green also testified
that she asked for an engineering study to be done to assure herself that the proposed
development by Mr. Mason was in fact feasible. Once this had been done, despite
opposition from Bannister and some hesitancy from Nasuti, she made the motion to
purchase the land to settle the lawsuit and as an acquisition of green space. The motion
passed by a vote of 4 to 1.


Chairman Charles Bannister testified that his opposition to the land purchase began
with the vote to deny the re-zoning application. He stated that he was opposed to the
purchase of the property because of the development costs to the County. He also
testified that he was opposed to the re-zoning application because he had made a
campaign promise not to allow any more apartments. Chairman Bannister abstained
from the vote to deny Mason's zoning application.


Mr. Bannister testified that after the filing of the lawsuit, he believes he inquired about
the County's chances to prevail and was assured that zoning votes. were rarely over
turned. He then stated that when the subject of purchasing the land came up, he was
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 118 of 129




surprised because he had spoken to Community Services Director Phil Hoskins and
had been informed about the high costs of developing the property. He stated based on
his prior knowledge of the property and the other factors he mentioned he was opposed
to the purchase of the property.


FINDINGS OF THE GRAND JURY


The Grand Jury finds no evidence of wrongdoing in the acquisition of this parcel of
property. This is no evidence of any improper payment made to, or solicited by, Lorraine
Green in her role as a public official.


In essence, this acquisition came down to a question of priorities. If Gwinnett County
had won the lawsuit, Mr. Mason would have been left with a tract of land which was
already zoned for commercial development. If the County had lost the lawsuit,
apartments would have been built. This District Commissioner was faced with a difficult
choice. Whether she made the correct choice depends on one's point of view. On one
hand, green space and wetlands were preserved, while on the other hand, valuable
property was removed from the tax digest.


RECOMMENDATIONS


OF THE GRAND JURY


The Special Purpose Grand Jury would like to thank District Attorney, Danny Porter,
Stan Hall and the entire staff of the District Attorney's office for the professional and
capable assistance they have provided this Grand Jury. We also want to express our
appreciation to the court reporters Holly Brown and Tara Johnson. We also wish to
commend the bailiffs Bob Hettesheimer and Mark Henderson for their professionalism
and support as the bailiffs to the Special Purpose Grand Jury.


After the conclusion of ten months of testimony and evidence, the Special Purpose
Grand Jury makes the following recommendations:
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 119 of 129




1. DISTRICT COURTESY


We understand that district commissioners work on a part-time basis for Gwinnett
County in addition to their full-time employment. Therefore, due to the sheer volume of
transactions and the amount of information involved in each transaction, commissioners
often end up deferring to the commissioner of the district in which the transaction is
proposed. This practice is known as district courtesy. It is the opinion of the Grand Jury
that this concept of district courtesy, while useful in some ways, is at the root of the
problems with each land transaction we examined. District courtesy has allowed
commissioners to avoid responsibility and accountability for their votes. We heard on
numerous occasions a commissioner testify that, unless there was something unusual
about the transaction, they always voted with the district commissioner. This in effect
allowed one commissioner to totally control a decision which affects all citizens of
Gwinnett County. An example of this control is the Peachtree Industrial Boulevard
property. The completely arbitrary and unexplained delay by Commissioner Kenerly in
keeping the transaction from the agenda essentially ended up costing the taxpayers
approximately four (4) million


dollars. No individual commissioner should have this kind of power.


The Grand Jury is strongly of the opinion that certain transactions such as parks
transcend the concept of district courtesy. These are transactions which involve millions
of dollars and affect all citizens of Gwinnett County. All commissioners should be
involved and held responsible for all phases of


these types of projects.


II. REORGANIZATION OF COUNTY GOVERNMENT


The Grand Jury recommends that the basic structure of Gwinnett County government
be changed. The current system with one full-time chairman and four part-time district
commissioners does not provide adequate representation to the citizens of the County.
   Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 120 of 129




The current system with its reliance on district courtesy and its over-reliance on county
staff provides too many opportunities for conflicts of interest and fosters a culture of
inappropriate business relationships which have been the common thread running
through our investigation.


The majority of the Grand Jury is in favor of making all current county commission
seats, including the Chairman, a full-time position. Essential to this concept would be
that these new commissioners would be adequately compensated and would be
prevented from having any outside business interests which could potentially conflict
with their responsibilities to govern. The expectation of these full-time commissioners
would be that they would have the opportunity to be better informed and make better
decisions. This system would also eliminate potential conflicts between their private life
and


public responsibility.


In considering this recommendation, the Grand Jury recognized that it is unrealistic to
expect the current part-time commissioners to be able to balance their private lives and
occupations with the immense amount of


work needed to make intelligent decisions on county matters. Full-time commissioners,
who would not be allowed to have outside employment, could devote the necessary
time to each decision.


The Grand Jury also considered the cost of this system. Full-time commissioners would
have to be adequately compensated to attract the type of candidate who could do the
job. The Grand Jury recognizes that at first qlance, this appears to be an additional cost
to taxpayers. But, if just one of the land transactions we investigated could have been
prevented by a wiser decision, that would more than pay for the salaries of full-time
commissioners.
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 121 of 129




On the other hand, many members believe that moving to full-time commissioners may
not be the answer. These members believe that the concept of a part-time
Citizen/Commissioner is still valid. The members who support the idea of part-time
commissioners do agree that the current system does not provide adequate
representation and provides too many opportunities for misconduct. These members
agree that the current workload is too burdensome and the current commission districts
are too large for one person to adequately do the job on a part-time basis.


The alternate recommendation of the Special Purpose Grand Jury is to re-structure the
current system to include more County Commissioners representing smaller districts.
This would have multiple benefits to the citizens of the County.


• It would decrease the pervasive influence of district courtesy.


• It would reduce the workload on individual commissioners to allow and require them to
make decisions based on all the facts.


• More districts would allow for better representation of each district.


• More districts would dilute the ability of one commissioner to totally control any given
transaction.


Given these advantages and the Grand Jury's ultimate demand for more accountability,
the proposal to add commissioners has significant merit.


Ill. BUSINESS PLAN


It is the opinion of the Grand Jury that the current business plan utilized by Gwinnett
County government needs significant improvement. During the course of our
investigation we observed serious pervasive lack of communication, information
sharing, and even trust between the County Commissioners and the heads of the major
departments of county government. On numerous occasions department heads testified
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 122 of 129




that they were not asked to offer an opinion about a particular land transaction. There
was no inquiry by the Board of Commissioners about how the purchase would fit into
the Parks Master Plan or the best use of the property was. Members of the staff,
including the current and past County Administrator consistently testified that they were
not asked and did not give an opinion whether a particular transaction was in the best
interest of the citizens. One department head testified "that wasn't his job."


County Commissioners on the whole testified that department heads did not provide
them with the information to make informed decisions. One current Commissioner
described the staff as "note takers." It was clear from the testimony that the decisions
are being made by commissioners based on a PowerPoint presentation made in
Executive Session. Sometimes these sessions occur fifteen minutes before a vote is
taken. Although the evidence shows that each commissioner is provided with a large
packet of information, either because of time limitations or for other reasons, the
packets are not being looked at.


The Grand Jury is of the opinion that there should be better communication between the
County Staff and the Board of Commissioners. This communication should be clearly
documented so that staff is clear on the intentions of the Board of Commissioners and
the Board is clear about its intentions. Because of this lack of documentation, the Grand
Jury was forced to dissect each transaction in order to determine the truth behind each
purchase. The goal of the business process should be that every citizen should be able
to examine any transaction conducted by Gwinnett County government and evaluate
that transaction objectively. The county government should be able, and willing, to
explain on each transaction who proposed it, who recommended it, why the Board
voted for it, and why it benefitted the citizens. Citizens should expect no less and the
Grand Jury finds that Gwinnett County government has failed to deliver on this
expectation.


IV. LAND ACQUISITION
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 123 of 129




Commissioner Kenerly testified that he believed that the citizens of Gwinnett County
had given him a mandate to acquire land to .build parks and preserve green space. The
Grand Jury does not disagree but we found a process that is ruled more by custom and
by the whims of individual commissioners than it is by sound business decisions and
economic considerations. The Grand Jury believes that the entire land acquisition
process should be restructured to increase efficiency and, most importantly,
accountability.


• First and foremost the acquisition should be based upon a philosophy of obtaining best
value for the taxpayer's dollar. Instead of the current philosophy of buy it and make it
work, each transaction should be critically examined to determine its current or future
use and value. The presumption should be that unless a transaction can be justified
under stringent standards known to all involved, the Gwinnett County Board of
Commissioners should decline the purchase.


• Decisions to purchase land are important to all citizens and should transcend all
notions of district courtesy. All information on all land transactions along with staff
recommendations should be given to all County Commissioners as soon as the
transaction is ready to be considered. No single commissioner should have the power to
singlehandedly delay consideration of a purchase for political or other reasons.


• No Limited Liability Company should be permitted to apply for a rezoning, acquire
property from the county or sell property to the county without a full disclosure of the
individual identities of the shareholders. The Grand Jury recognizes that an LLC is a
legitimate type of company formed for a variety of legitimate reasons but it should not
be a vehicle to conceal the identity of individuals who are doing business with the
government.


• The Grand Jury found that the minutes of Executive Sessions as they now exist are
not useful to determine what actually happened in the meetings. They are cursory at
best and only reflect the final action taken. The Grand Jury recommends that Executive
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 124 of 129




Sessions be audiotaped or videotaped to insure that later review will reveal what
actually happened in the meetings.


• As stated earlier, the concept of consensus in Executive Session leaves all parties
involved confused and unsure about the decision that was actually made. The Grand
Jury recognizes that this procedure was instituted to ensure that all votes were made at
public meetings. The Grand Jury also recognizes there are many topics, such as land
pricing and negotiation strategy that should not be discussed at a public meeting. The
current process should be re-evaluated since it clearly is not working.


• The Grand Jury became concerned about the apparent difference of opinion between
commissioners and staff about the appraisal process and results. It appears that staff
trusts the process and results implicitly while the current Board of Commissioners does
not trust it at all. Provisions should be made and procedures put in place for those
situations in which the seller's appraisal and the County appraisal vary. The decisions
made by the Board of Commissioners, especially in settlement of litigation, must be
made based on appraisals that the Board trusts and which are legally defensible.


• The Grand Jury found a profound lack of communication between the County Law
Department and the members of the Board of Commissioners. The attorneys from the
Law Department who testified told us that the county prevailed in the majority of cases
in which a rezoning decision had been made. Several members of the Board of
Commissioners testified that most of those cases were remanded for a different
decision. In other words, the county lost the case. When pressed for specifics, neither
the County Attorneys nor the


Commissioners could provide the Grand Jury with detailed information. It would seem
that one of the fundamental pieces of information needed by the Board of
Commissioners in deciding whether to settle a lawsuit would be an evaluation of the
likelihood of success, including success in past cases. Members of the current Board
testified that they were not provided this information. The County Attorneys testified that
the Board was provided the information. Without the documentation procedures
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 125 of 129




mentioned earlier, the Grand Jury is unable to determine what happened. The Grand
Jury is of the opinion that this type of information is critical to making informed
decisions. The Grand Jury recommends that Gwinnett County government take
whatever steps are necessary to restore confidence in the Law Department and to
make sure that information is available to make sound decisions.


• The practice of offering appraisal price plus ten percent for land acquisition should be
abolished. County government should have trained


real estate negotiators on staff to obtain the best value for taxpayer dollars. These
negotiators should be experienced, aware of market conditions and have sufficient
authority to conduct aggressive negotiations on behalf of taxpayers without undue
influences from outside forces.


• The Grand Jury has found that SPLOST funds have been used for a variety of
purposes from land acquisitions outside the Parks Master Plan to settlement of
litigation. The Grand Jury is of the opinion that these actions have placed the passage
of future SPLOST votes in jeopardy. SPLOST funds should be used for clearly
delineated purposes approved by the voters, not as a general pot of money to be used
for various purposes based upon a commissioner's desire.


• Finally, land acquisition should follow a clearly defined and set system of policies and
procedures. These procedures should be public and designed to make the property
acquisition decision as objective as possible and based upon a valid business reason.
Deviation from these procedures should be the exception rather than the norm and
each deviation should be adequately documented.


V. ETHICS REFORM


The Grand Jury was surprised to learn that the ethics ordinance passed by the Gwinnett
County Board of Commissioners has not been significantly reviewed or changed since
its passage in 1993. This is simply unacceptable. The Grand Jury recommends that the
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 126 of 129




ethics ordinance be reviewed and updated as necessary every two years. This should
be a priority of the elected Board of Commissioners.


The Grand Jury has heard sufficient testimony to conclude that comprehensive
enforceable ethics ordinance should be a priority for' Gwinnett County Government. The
only way that any semblance of trust can be re-established is for citizens to believe that
their elected officials and county employees are acting ethically and on their behalf. The
basics of


such an ethics ordinance would have to include full disclosure of business interests and
prohibitions against receiving gifts or other things of value. Without these basics, trust
cannot exist.


CONCLUSION


Based upon the evidence gathered during the course of our investigation, the Grand
Jury, as a group of citizens, has been increasingly concerned about the path that
Gwinnett County government is on. We have seen decisions involving millions of dollars
made with little or no information or for the most venal reasons.


As interested citizens we have carefully considered our decisions and
recommendations. It is now up to the elected leaders of Gwinnett County to carefully
consider these recommendations and implement those they believe would best serve
the public interest.


In many ways, Gwinnett County is still a great place to live, work and raise our children
but in order to remain great, changes must be made.


In addition to the publication of presentments, we recommend that a copy of these
presentments be delivered to:


Mr. Charles Bannister, Former Chairman, Gwinnett County Board of Commissioners
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 127 of 129




Ms. Shirley Lasseter, Gwinnett County Board of Commissioners


Mr. Bert Nasuti, Gwinnett County Board of Commissioners


Mr. Mike Beaudreau, Gwinnett County Board of Commissioners


Mr. Kevin Kenerly, Gwinnett County Board of Commissioners


Mr. Daniel J. Porter, Gwinnett County District Attorney


Honorable Dawson Jackson, Chief Superior Court Judge, Gwinnett Judicial Circuit


Honorable Michael C. Clark, Superior Court Judge, Gwinnett Judicial Circuit


Honorable William M. Ray, II, Superior Court Judge, Gwinnett Judicial Circuit


Honorable Karen E. Beyers, Superior Court Judge, Gwinnett Judicial Circuit


Honorable Ronnie K. Batchelor, Superior Court Judge, Gwinnett Judicial Circuit


Honorable Melodie Snell Conner, Superior Court Judge, Gwinnett Judicial Circuit


Honorable Debra K. Turner, Superior Court Judge, Gwinnett Judicial Circuit


Honorable R. Timothy Hamil, Superior Court Judge, Gwinnett Judicial Circuit


Honorable Tom Davis, Superior Court Judge, Gwinnett Judicial Circuit


Honorable Warren Davis, Superior Court Judge, Gwinnett Judicial Circuit


Karen Thomas, County Attorney


Steve North, Department of Support Services
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 128 of 129




Phil Hoskins, Department of Community Services


Lynn Smarr, Department of Water Resources


Brian Allen, Department of Transportation


Glenn Stephens, County Administration


Done this 22nd day of October, 2010.


By the Grand Jury


-s- MAYDEL MASSELLI-MONTERO, FOREPERSON


-s- JANICE N. MCCLOSKEY, CLERK


ORDER


The within and foregoing Report and Presentments of the Special Purpose Grand Jury,
having been presented, it is ordered that the same be filed with the Clerk of this Court
and spread upon the minutes thereof.


It is ordered that the Report and Presentment of the Special Purpose Grand Jury be
published in the Officiai County news media, The Gwinnett Daily Post, as a legal notice,
at least one time with costs to be paid from the general funds of Gwinnett County.


This 22nd day of October, 2010.


-s- Michael C. Clark


HONORABLE


MICHAEL C. CLARK
  Case 1:23-cv-03721-SCJ Document 1-159 Filed 08/21/23 Page 129 of 129




SUPERVISING JUDGE


GWINNETI COUNTY


SUPERIOR COURT


GWINNETI JUDICIAL


CIRCUIT


912!06615189, 11/4@
